Case 24-17915-SLM Doc1_ Filed 08/08/24 Entered QB/dek24 de=5b 28 \Besc

Petition Page 1 of 61
, RECEIVED
JEANNE A. NAUGHTON, CLERK

AUG 0 8 2024

United States Bankruptcy Court for the: a BANKRUPTCY COURT
District of New Jersey ay whe DEPUTY
Case number (if known): 24 = \WAa \ < Chapter you are filing under: :

4 ohana CL) Check if this is an

O) Chapter 12 amended filing

C) Chapter 13

Official Form 101
Voluntary Petition for Individuals Filing for Bankruptcy 06/24

The bankruptcy forms use you and Debtor 7 to refer to a debtor filing alone. A married couple may file a bankruptcy case together—called a
joint case—and in joint cases, these forms use you to ask for information from both debtors, For example, if a form asks, “Do you own a car,”
the answer would be yes if either debtor owns a car. When information is needed about the spouses separately, the form uses Debtor 7 and
Debtor 2 to distinguish between them. In joint cases, one of the spouses must report information as Debtor 7 and the other as Debtor 2. The
same person must be Debtor 7 in all of the forms.

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case number
{if known). Answer every question.

al Identify Yourself

om yl. HE TA,

About Debtor 1: About Debtor 2 (Spouse Only in a Joint Case):
1. Your full name
/ TASHONDA
Write the ne ae is ne your First name First name
government-issued picture
identification (for example, ANQUIA _
your driver's license or Middle name Middle name
passport). LIGGINS
: Last name Last name
Bring your picture
identification to your meeting
i ustee. Suffix (Sr., Jr., Il, Ill) Suffix (Sr., Jr., I, Il)
with the trust
2. All other names you - :
have used in the last 8 Pears First name
years
Middle name Middle name
Include your married or
maiden names and any
assumed, trade names and Last name LAeA TAOS
doing business as names.
First name First name

Do NOT list the name of any
separate legal entity such as

a corporation, partnership, or Middle name Middle: name
LLC that is not filing this
petition. Last name Last name

Business name (if applicable) Business name (if applicable)

Business name (if applicable) Business name (if applicable)

3. Only the last 4 digits of
your Social Security wx -xx-_6 6 5 6 XXX = XK =
number or federal OR OR
Individual Taxpayer
Identification number 9 xx -— xx - 9xx - x -
(ITIN)

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 1
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Petition

peter? TASHONDA ANQUIA LIGGINS

First Name Middle Name

Last Name

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Case number (i known)

4. Your Employer
Identification Number
(EIN), if any.

About Debtor 1:

EIN”

EN

About Debtor 2 (Spouse Only in a Joint Case):

EIN

EIN

5. Where you live

204 STEPHENS STREET

Number Street

BELLEVILLE NJ 07709
City Stale ZIP Code
ESSEX

County

If your mailing address (s different from the one
above, fill itin here. Note that the court will send
any notices to you at this mailing address.

If Debtor 2 lives at a different address:

Nurnber Street

City State ZIP Code

County

If Debtor 2's mailing address is different fram
yours, fill it in here, Note that the court will send
any notices to this mailing address.

this district to file for
bankruptcy

Wi Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

LJ { have another reason. Explain.
(See 28 U.S.C. § 1408.)

Number Street Number Street

P.O. Box P.O, Box

City State ZIP Code City State ZIP Code
6. Why you are choosing Cheek one: Check one:

(CE Over the last 180 days before filing this petition,
| have lived in this district longer than in any
other district.

(C1) i have another reason. Explain.
(See 28 U.S.C. § 1408.)

Official Form 101

. Voluntary Petition for Individuals Filing for Bankruptcy page 2

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Debtor 1 TASHONDA ANQUIA LIGGINS : Case number (i keown))

First Name Middie Name Last Name

Ga Report About Any Businesses You Own as a Sole Proprietor

42, Are you a sole proprietor No. Go to Part 4.
of any full- or part-time
business? (Yes. Name and location of business

A sole proprietorship is a
business you operate as an
individual, and is not a
separate legal entity such as

a corporation, partnership, or
rte. P p Number Street

Name of business, if any

if you have more than one
sole proprietorship, use a
separate sheet and attach it
to this petition.

City State ZIP Code

Check the appropriate box fo describe your business:

LL} Health Care Business {as defined in 11 U.S.C. § 101(27A))
Ly Single Asset Real Estate {as defined in 11 U.S.C, § 101(51B})
(J Stockbroker {as defined in 11 U.S.C. § 101(53A)})

QO Commodity Broker {as defined in 11 U.S.C. § 101(6))

QO) None of the above

13. Are you filing under if you are filing under Chapter 11, the court must know whether you are a smal! business debtor so that it
Chapter 11 of the can sef appropriate deadlines. If you indicate that you are a small business debtor, you must attach your
Bankruptey Code, and most recent balance sheet, statement of operations, cash-flow statement, and federal income tax return oF
are you a smalf business if any of these documents do not exist, follow the procedure in 14 U.S.C. § 1116(1}(B).

debtor?
For a definition of smatf No. 1am not filing under Chapter 1+.

business debtor, see

41 U.S.C. § 104(51D). C) No. tam filing under Chapter 11, but | am NOT a small business debtor according to the definition in

the Bankruptcy Code.

(J Yes. 1 am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankrupicy Code, and | do not choose fo proceed under Subchapter V of Chapter 11.

(C] Yes. | am filing under Chapter 11, | am a small business debtor according to the definition in the
Bankruptcy Code, and | choose to proceed under Subchapter V of Chapter 11.

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Debtor 4 TASHONDA ANQUIA LIGGINS Case number (i kaow

First Name Middle Name Last Name

Ee Report if You Own or Have Any Hazardous Property or Any Property That Needs Immediate Attention

14. Do you own orhave any No
property that poses or is

alleged to pose a threat L] Yes. What is the hazard?
of imminent and
identifiable hazard to

public health or safety?
Or do you own any

property that needs if immediate attention is needed, why Is it needed?

immediate attention?
For example, do you own

perishable goods, or livestock
that must be fed, or a buitding
that needs urgent repairs?
Where is the property?

Number Street

Gity State ZIP Code

Official Form 101 Voluntary Petition for Individuals Fiting for Bankruptcy page 6
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Debtor 1 TASHONDA ANQUIA LIGGINS

First Name Middle Name

Last Name

Case number (if known)

a Explain Your Efforts to Receive a Briefing About Credit Counseling

45. Tell the court whether
you have received a
briefing about credit
counseling.

The law requires that you
receive a briefing about credit
counseling before you file for
bankruptcy. You must
truthfully check one of the
following choices. If you
cannot do se, you are not
eligible to file.

If you file anyway, the court
can dismiss your case, you
will lose whatever filing fee
you paid, and your creditors
can begin collection activities
again.

Official Form 104

About Debtor 1:

You must check one:

WI received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

C1] | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

Ld: certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made te obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

If the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment plan you
developed, if any. if you do not do so, your case
may be dismissed.

Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C2} | am not required to receive a briefing about
credit counseling because of:

C3 incapacity. 1 have a mental iliness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

LJ Disability. My physical disability causes me
to be unable to participate ina
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

(C) Active duty. | am currently on active military
duty in a military combat zone.

If you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credit counseling with the court.

Voluntary Petition for individuals Filing for

About Debtor 2 (Spouse Only in a Joint Case):

You must check one:

CJ | received a briefing from an approved credit
counseling agency within the 180 days before |
filed this bankruptcy petition, and | received a
certificate of completion.

Attach a copy of the certificate and the payment
plan, if any, that you developed with the agency.

0) | received a briefing from an approved credit
counseling agency within the 180 days before 1
filed this bankruptcy petition, but | do not have a
certificate of completion.

Within 14 days after you file this bankruptcy petition,
you MUST file a copy of the certificate and payment
plan, if any.

ad certify that | asked for credit counseling
services from an approved agency, but was
unable to obtain those services during the 7
days after | made my request, and exigent
circumstances merit a 30-day temporary waiver
of the requirement.

To ask for a 30-day temporary waiver of the
requirement, attach a separate sheet explaining
what efforts you made to obtain the briefing, why
you were unable to obtain it before you filed for
bankruptcy, and what exigent circumstances
required you to file this case.

Your case may be dismissed if the court is
dissatisfied with your reasons for not receiving a
briefing before you filed for bankruptcy.

lf the court is satisfied with your reasons, you must
still receive a briefing within 30 days after you file.
You must file a certificate from the approved
agency, along with a copy of the payment ptan you
developed, if any. if you do not do so, your case
may be dismissed.

- Any extension of the 30-day deadline is granted
only for cause and is limited to a maximum of 15
days.

C) 1 am not required to receive a briefing about
credit counseling because of:

C) incapacity. | have a mental illness or a mental
deficiency that makes me
incapable of realizing or making
rational decisions about finances.

L] Disability. My physical disability causes me
to be unable to participate in a
briefing in person, by phone, or
through the internet, even after |
reasonably tried to do so.

LI Active duty. | am currently on active military
duty in a military combat zone.

if you believe you are not required to receive a
briefing about credit counseling, you must file a
motion for waiver of credi{ counseling with the court.

Bankruptcy page 6
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TASHONDA ANQUIA LIGGINS

‘ Debtor 1 Case number {if known)

First Namie Middle Name Last Name

a Answer These Questions for Reporting Purposes

16a. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 191(8)
as “incurred by an individual primarily for a personal, family, or household purpose.”

Q] No. Go to line 16b.
@ Yes. Go to tine 17.

16b. Are your debts primarily business debts? Business debts are debts that you incurred to obtain
money for a business or investment or through the operation of the business or investment.

W No. Go to line 16c.
{] Yes. Go to line 77.

46. What kind of debts do
you have?

16c. State the type of debts you owe thal are not consumer debts or business debls.

17. Are you filing under
Chapter 77

Do you estimate that after ves. lam filing under Chapter 7. Do you estimate that after any exempt property is excluded and
any exempt property is administrative expenses are paid that funds will be available to distribute to unsecured creditors?

(C1 No. | am not filing under Chapter 7. Go to line 18.

excluded and i No
administrative expenses
are paid that funds will be Ci Yes

available for distribution
to unsecured creditors?

L) 7,000-5,000

estimate your assets to
be worth?

(9 $50,004-$100,c00
OQ) $100,004-$500,000

C) $10,000,001-§50 million
©) $50,000,001-$100 million

48. How many creditors do 1-49 CJ 25,001-50,000
you estimate that you O 50-99 ©) 5,001-10,000 {) 50,001-100,000
owe? [) 400-199 D 40,001-25,000 C) More than 100,000
LJ 200-999
19. How much do you i $0-$50,000 () $1,000,001-$10 million L} $500,000,001-81 billion

 $7,090,000,001-$10 billion
(J $40,000,000,001-$50 billion

©] More than $50 billion

©] $500,001-$1 milion i) $100,000,001-$500 million

CJ $500,000,001-$1 billion

OC) $1,000,000,001-$10 billion
LI} $10,000,000,001-$50 billion
(I More than $50 billion

C) $4,000,001-$10 million

C2 $10,000,001-$50 million
(3 $50,000,001-$100 mitlion
LJ $100,000,001-$500 million

| 20, How much do you L) $0-$50,000
estimate your liabilities C) $50,001-$100,000
to be?  $100,001-$500,000

(3 $500,001-$1 million
| have examined this petition, and | declare under penalty of perjury that the information provided is true and
For you correct.

If | have chosen to file under Chapter 7, | am aware that | may proceed, if eligible, under Chapter 7, 11,12, or 13
of title 11, United States Code. | understand the relief available under each chapter, and | choose to proceed
under Chapter 7.

If no attorney represents me and | did not pay or agree to pay someone who is not an attorney to help me fill out
this document, | have obtained and read the notice required by 11 U.S.C. § 342(b).

| request relief in accordance with the chapter of title 11, United States Code, specified in this petition.

| understand making a false statement, concealing property, or obtaining money or property by fraud in connection
with a bankruptcy case can resyl-itTines tip to $250,000, or imprisonment for up to 20 years, or both.
18 U.S.C. §§ 152, 1341, 1519fand 3571,

x [acho

Signature of Debtor 4 oO

Executed on 0® Oo 2014

MM / DD IYYYY

x

Signature of Debtor 2

Executed on
MM / DD /YYYY

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Debtor 1 TASHONDA ANQUIA_LIGGINS Case number (if knox)

Firsl Name Middle Name Last Name

|, the attorney for the debtor(s) named in this petition, declare that [ have informed the debtor(s} about eligibitity
to proceed under Chapter 7, 11, 12, or 13 of title 11, United States Code, and have explained the relief
available under each chapter for which the person is eligible. | also certify that | have delivered to the debtors)
the notice required by 11 U.S.C. § 342(b) and, in a case in which § 707(b}(4)(D} applies, certify that | have no
if you are not represented knowledge after an inquiry that the information in the schedules filed with the petition is incorrect.

by an attorney, you do not

For your attorney, if you are
represented by one

need to file this page. x
Date
Signature of Attomey for Debtor MM f DD /YYYY
Printed name
Firm name
Number Street
City State ZiP Code
Contact phone Email address
Bar number State

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 8
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Debtor 7 TASHONDA ANQU IA LIGGINS Case number (f known)

First Name Middie Name Last Name
For you if you are filing this The law allows you, as an individual, to represent yourself in bankruptcy court, but you
bankruptcy without an should understand that many people find it extremely difficult to represent
attorney themselves successfully. Because bankruptcy has long-term financial and legal

consequences, you are strongly urged to hire a qualified attorney.

If you are represented by
an attorney, you do not To be successful, you must correctly fite and handle your bankruptcy case. The rules are very

need to file this page. technical, and a mistake or inaction may affect your rights. For example, your case may be
dismissed because you did not file a required document, pay a fee on time, attend a meeting or
hearing, or cooperate with the court, case trustee, U.S. trustee, bankruptcy administrator, or audit
firm if your case is selected for audit. If that happens, you could lose your right to file another
case, of you may lose protections, including the benefit of the automatic stay.

You must list all your property and debts in the schedules that you are required to file with the
court. Even if you plan to pay a particular debt outside of your bankruptcy, you must list that debt
in your schedules. If you do not list a debt, the debt may not be discharged. If you do not list
property or properly claim it as exempt, you may not be able to keep the property. The judge can
also deny you a discharge of all your debts if you do something dishonest in your bankruptcy
case, such as destroying or hiding property, falsifying records, or lying. Individual bankruptcy
cases are randomly audited to determine if debtors have been accurate, truthful, and complete.
Bankruptey fraud is a serious crime; you could be fined and imprisoned.

If you decide te file without an attorney, the court expects you to follow the rules as if you had
hired an attorney. The court will not treat you differently because you are filing for yourself, To be
successful, you must be familiar with the United States Bankruptcy Cade, the Federal Rules of
Bankruptcy Procedure, and the local rules of the court in which your case is fited. You must aiso
be familiar with any state exemption laws that apply.

Are you aware that filing for bankruptcy is a serious action with long-term financial and fegat
consequences?

CJ Ne

hd Yes

Are you aware that bankruptcy fraud is a serious crime and that if your bankruptcy forms are
inaccurate or incomplete, you could be fined or imprisoned?

C) No

WI Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out your bankruptcy forms?

WI No

OQ) Yes. Name of Person
Attach Bankruptcy Petition Preparer's Notice, Declaration, and Signature (Official Form 179).

By signing here, | acknowledge that | understand the risks involved in filing without an attorney. |
otice, and | am aware that filing a bankruptcy case without an

have read and understood this-noti
attorney may cause me to ery rights or property if | do not properly handle the case.

x Tashunder

x

Cf

Signature of Debtor 1 Signature af Debtor 2
Date 6 0@ 2b)4| Date
MM/DD /YYYY MM/ DD IYYYY
Contact phone (862) 452-4051 Contact phone
Celt phone _(862) 452-4054 Cell phone
Email address tashondaliggins@icloud.com Email address

Official Form 101 Voluntary Petition for Individuals Filing for Bankruptcy page 9
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TTT RUEMURLOMLCL Cem COMA mk orem

bebtor1  TASHONDA ANQUIA LIGGINS
First Name Middle Name Last Name

Debtor 2

(Spouse, if filling) Fist Name Middle Name Last Name

United States Bankruptcy Court for the: District of New Jersey

Case number

(if known)

Official Form 106Sum

QC] Check if this is an

amended filing

Summary of Your Assets and Liabilities and Certain Statistical Information 42/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. Fill ou€ all of your schedules first; then complete the information on this form. If you are filing amended schedufes after you file

your original forms, you must fill out a new Summary and check the box at the top of this page.

Summarize Your Assets

1. Schedule A/B: Property (Official Form 106A/B)

1a. Copy line 55, Totat real estate, from Schedule A/B nescence sere ies ee irneenee ceed nnaen neni ninane teres ser inset ete eeecteats

tb. Copy line 62, Total personal property, from Schedtite AAB a... cesses ese essen ncatensetinaeenen trent cerc es teeeen cnet cris

1c. Copy line 63, Total of all property On Schedule A/B oo... ee eeetstes ee ee ceeentenesneanne nen ncomeencrteneaeannee teen canene cE ANTE

Your assets
Value of what you own

$ 10,125.00
$ 20,275.00
g 20,275.00

Cer Summarize Your Liabilities

2. Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)

2a. Copy the total you tisted in Column A, Amount of claim, at the bottom of the last page of Part 1 of Schedule D...........

3. Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 106E/F}

Your liabilities
Amount you owe

254,850.00

_ g 11,500.00
3a. Copy the total claims from Part 4 (priorily unsecured claims) from line 6e Of Schedule EXF vec eccccescettecetrneeeseenienes eS
3b. Copy the total claims from Part 2 (nonpriority unsecured claims) from line BE Of Schedule E/P oi... cece cece er ecteteen +4

Your total liabilities 3____ 92,300.00
eed Summarize Your income and Expenses
4. Schedule |: Your income (Official Form 1068}
§ 2,307.00
Copy your combined monthly income from line 12 of Schedtde fo... cic ere escent renee sete eee teear reeset nent ———
' 5, Schedule J: Your Expenses (Official Form 106J) 4939.0
: Copy your monthly expenses from line 226 of Schedtsle Jo... essere cere essen eenente teens neencene tnat ta trence cs ceeaesenrneeneaees scien g___ 4,939.00
Official Form 406Sum Summary of Your Assets and Liabillties and Certain Statistical Information page f of 2

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Debtor 1 TASHONDA ANQUIA LIGGINS Case number (tsnown)

First Name Middle Name. Last Name

a Answer These Questions for Administrative and Statistical Records

6. Are you filing for bankruptcy under Chapters 7, 11, or 137

CJ No. You have nothing to report on this part of the form. Check this box and submit this form to the court with your other schedules.

Ww Yes
7. What kind of debt do you have?
Wi Your debts are primarily consumer debts. Consumer debts are those “Incurred by an individual primarily for a personal,
family, or household purpose.” 11 U.S.C. § 101(8). Fill out lines 8-9g for statistical purposes. 28 U.S.C. § 159.

Q) Your debts are not primarily consumer debts. You have nothing to report on this part of the form, Check this box and submit
this form to the court with your other schedules.

8. From the Statement of Your Current Monthly Income: Copy your total current manthly income from Official
Form 122A-1 Line 11; OR, Form 1228 Line 11; OR, Form 122C-1 Line 44. 3 4,936.00

. Copy the following special categories of claims from Part 4, line 6 of Schedule EMF:

Totat claim
From Part 4 on Schedule E/F, copy the following:
8a. Domestic support obfigations (Copy line Ga.) $ 0.00
9b. Taxes and certain other debts you owe the government. (Copy line 6b.) $ 0,00
9c. Claims for death or personal injury while you were intoxicated. (Copy line 6c.} $ 0.00
9d. Student ioans. (Copy fine 6f.) $ 0.00
9e. Obligations arising out of a separation agreement or divorce that you did not report as $ 0.00
priority claims. (Copy line 6g.)
Of. Debts to pension or profit-sharing plans, and other similar debts. (Copy tine 6h.) + 0.00
9g. Total. Add lines 9a through 9f. $ 0.00

Official Form 106Sum Summary of Your Assets and Liabilities and Certain Statistical Information page 2 of 2

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THE RUICR CLC RC CHUL (emer Etim lem UEL B

Debtor 4 TASHONDA

ANQUIA LIGGINS

First Name Middle Name

Debtor 2

Last Name

(Spouse, if filing) First Name Middie Name

Case number

United States Bankruptcy Coust for the: District of New Jersey

Last Name

©] Check if this is an
amended filing

Official Form 106A/B

Schedule A/B: Property 12/15

In each category, separately list and describe items. List an asset only once. If an asset fits in more than one category, list the asset in the
category where you think It fits best. Be as complete and accurate as possible. If two married people are filing together, both are equally
responsible for supplying correct information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known). Answer every question.

BEE bescrive Fach Residence, Building, Land, or Other Real Estate You Own or Have an interest In

4. Do you own or have any legal or equitable interest in any residence, building, land, or similar property?

C) No. Ge to Part 2.
wi Yes. Where is the property?

44, 204 STEPHENS STREET

Street address, if available, or other description

BELLEVILLE Nu 07109
City State ZIP Code
ESSEX

County

If you own or have more than one, jist here:

1.2.

Street address, if available, or other description

City State ZIP Code

County

Official Form 106A/B

What is the property? Check all that apply.
wf Singie-family home
CO) Duplex of multi-unit building

Co not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Praperty.

(] Condominium or cooperative Current value of the Current value of the

(2 Manufactured or mobile home entire property? portion you own?

Q) band 3 453,000.00 ¢ 250,091.00

(3 investment propery

(3 Timeshare Describe the nature of your ownership

O ot interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.

Who has an interest in the property? Check one.

(J Debtor 1 only

QL) Debtor 2 only

(C) Debtor 1 and Debtor 2 only

C) Atleast one of the debtors and another

Other information you wish to add about this item, such as local
property identification number:

CI check if this is community property
(see instructions)

i ?
What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put

the amount of any secured claims on Schedule D:

L} Single-family home
Creditors Who Have Claims Secured by Property.

O Duplex or multi-unit building
D1 Condominium or cooperative Current value of the Current value of the
(9 Manufactured or mobile home entire property? portion you own?

td Land g $

(1 Investment propery
(J Timeshare
CQ) other

Who has an interest in the property? Check one.

Describe the nature of your ownership
interest (such as fee simple, tenancy by
the entireties, or a life estate), if known.

OO) Debtor + only

QO) debtor 2 only

C) Debtor 4 and Debtor 2 only

(CI At least one of the debtors and another

QO) Check if this is community property
{see instructions)

Other information you wish to add about this item, such as local
property identification number:

Schedule A/B: Property page 4
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bebtor1  TASHONDA ANQUIA _LIGGINS Case number ¢riscwn

First Name Middie Name Last Nama

What is the property? Check all that apply. Do not deduct secured claims or exemptions. Put
O Single-family home the amount of any secured claims on Schedule D:

1.3. Creditors Who Have Claims Secured by Praperty.

Street address, if available, or other description O Dupiex or multi-unit building
C) condominium or cooperative Current value of the Current value of the
entire property? ortion you own?
C) Manufactured or mobile home properly P ¥
©) Land $ $
UC) Investment property
Gity Slate ZIP Code O) Timeshare Describe the nature of your ownership
oO interest (such as fee simple, tenancy by
Other the entireties, or a life estate), if known.
Who has an interest in the property? Check one.
S C) Debtor t only
ounty C} Debtor 2 only
(2 Debtor 4 and Debtor 2 only Cd Check If this is community property
(29 At least one of the debtors and another (see instructions}
Other information you wish to add about this item, such as local
property identification number:
2, Add the dollar value of the portion you own for all of your entries from Part 1, including any entries for pages $
you have attached for Part 1. Write that number Were. 0.0... eee rer ener nese rene nenane renee errant ete cence eee ane tas »>

i Describe Your Vehicies

Do you own, lease, or have legal or equitable interest in any vehicles, whether they are registered or not? Include any vehicles
you own that someone else drives. If you lease a vehicle, also report it on Schedule G: Executory Contracts and Unexpired Leases.

3. Cars, vans, trucks, tractors, sport utility vehicles, motorcycles

CQ) No
Wi Yes
3.1. Make: OUTLANDE Who has an interest in the property? Check one. Dg not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: MITSUBISI debtor 1 only Creditors Who Have Claims Secured by Property.
Year: 2019 L) debtor 2 only :
74323 U) Debtor 1 and Debtor 2 only cate property? portion you own?
Approximate mileage: "NS" (J At least one of the debtors and another properly P ¥
Other information:
QO § 12,608.00 10,125.00
Check if this is community property (see 2
instructions) ,
if you own or have more than one, describe here:
32. Make: Who has an interest in the property? Check one. D9 not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Model: Cl Debtor 4 only Creditors Who Have Claims Secured by Property,
2] bebter 2 only
Year. Current value of the Current value of the

() Bebtor 1 and Debtor 2 only
Approximate mileage: _ C] At least one of the debtors and anather

Other information:

entire property? portion you own?

CJ] Check if this is community property (see
instructions}

Official Farm 106A/B Schedule A/B: Property page 2
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Debtor 4 TASHONDA ANQUIA LIGGINS Case number (known)
First Name Middle Name Last Name
3.3, Make: Who has an interest in the property? Check one.
Model: Q) Debtor t only
(I Debtor 2 only
Year:

Approximate mileage:

Other information:

3.4. Make:
Made:
Year:
Approximate mileage:

Other information:

(J Debtor 1 and Debtor 2 only
(I At least one of the debtors and another

QO) Check if this is community property (see
instructions)

Who has an interest in the property? Check one.

CY Debtor 1 only

CJ cebior 2 only

CY Debtor 1 and Debtor 2 only

C Atleast one of the debtors and another

() Check if this is community property (see
instructions)

Do not deduct secured claims or exemptions. Put
the amount of any secured claims an Schedule D:
Credifors Who Have Claims Secured by Properly.

Current value of the Current value of the
entire property? portion you own?

Do not deduct secured claims or exemptions. Put
the amount af any secured claims on Schedule D:
Creditors Who Have Claims Secured by Praperty.

Current value of the Current value of the
entire property? portion you own?

4, Watercraft, aircraft, motor homes, ATVs and other recreational vehicles, other vehicles, and accessories

Examples: Boats, trailers, motors, personal watercraft, fishing vessels, snowmobiles, motorcycle accessories

wi No
OQ) Yes

4.1. Make:
Model:

Year:

Other information:

if you own or have more than one, list here:

4.9, Make:
Model:

Year:

Other information:

Official Form t06A/8

Who has an interest in the property? Check one.
C) Debtor 41 anty

C2 Debtor 2 only

(2 Debtor 1 and Debtor 2 only

CE At least one of the debtors and another

CJ Chesk if this is community property (see
instructions)

Who has an interest in the property? Check one.
C) bebter 4 only

(C) Debtor 2 only

LJ Debtor 1 and Debtor 2 only

(] Atjeast one of the debtors and another

OC) Check if this is community property (see
instructions)

5, Add the dollar value of the portion you own for all of your entries from Part 2, including any entries for pages
you have attached for Part 2. Write that number Were 0... esses sees sssssennseersscaneeettnsneanserennnrarenesrceeinaeseannan tees

Schedule A/B: Property

Do not deduct secured claims or exemptions. Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

Do not deduct secured claims or exemptions, Put
the amount of any secured claims on Schedule D:
Creditors Who Have Claims Secured by Property.

Current value of the
portion you own?

Current value of the
entire property?

10,125.00

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Debtor 1 TASHONDA ANQUIA LIGGINS

Case number (if known)

First Name Middle Name Lasl Name

Describe Your Personal and Househoid Items

Do you own or have any legal or equitable interest in any of the following items?

6. Household goods and furnishings
Examples: Major apptiances, furniture, linens, china, kitchenware

CJ No

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

J Yes. Describe.........| LIVING ROOM, BEDROOM AND DINING | 5 3,500.00
-FURNITURE,LINEN, KITCHENWARE-.--—----—-.-—-
7. Electronics
Examples: Televisions and radios; audio, video, stereo, and digital equipment; computers, printers, scanners; music
collections; electronic devices including ce!l phones, cameras, media players, games
CQ No sen .
WI Yes. Describe.......... TELEVISION, STEREO, CELL PHONE, COMPUTER, PRINTER | $ 2,500.00
8. Coflectibles of value
Examples: Antiques and figurines; paintings, prints, or other artwork, books, pictures, or other art objects;
stamp, coin, or baseball card collections; other collections, memorabilia, collectibles
LA No poe
C) Yes. Desoribe..........! | $ 0.00
9. Equipment for sports and hobbies
Examples: Sports, photographic, exercise, and other hobby equipment; bicycles, pool tables, golf clubs, skis; canoes
and kayaks; carpentry tools; musical instruments
W No on
CU Yes. Describe.......... | g 0.00
10. Firearms
Examples: Pistols, rifles, shotguns, ammunition, and related equipment
\@ No nnacaconecte sa
C) ves. Describe.......... | § 0.00
11. Clothes
Examples: Everyday clothes, furs, feather coals, designer wear, shoes, accessories
QO) No annette ene se soon
Zi Yes. Deseribe......... EVERYDAY CLOTHES, UNIFORMS, SHOES | $ 3,000.00
12, Jewelry
Examples: Everyday jewelry, costume jewelry, engagement rings, wedding rings, heirloom jewelry, watches, gems,
gold, silver
1 No | 7 150.00
w Yes. Deseribe......../ EARRINGS | $ :
+3. Non-farm animals
Examples: Dogs, cats, birds, horses
kM No sn
CL) Yes. Describe... $ 0.00
14, Any other personal and household items you did not already list, including any heaith aids you did not list
\d No |
CI Yes. Give specific § 9.00
information. ............
15. Add the dollar value of all of your entries from Part 3, including any entries for pages you have attached $ 9,150.00
for Part 3. Write that number here ................... cesteneeantaee
Official Form i06A/B Schedule AJB: Property page 4

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Debtor 1 TASHONDA ANQUIA LIGGINS Case number (ifknewn},

First Name Middle Name: Last Nama

Eo Describe Your Financial Assets

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

Do you own or have any legal or equitable interest In any of the following?

16.Cash
Examples: Money you have in your wallet, in your home, in a safe deposit box, and on hand when you fila your petition
UL No

17. Deposits of money
Examples: Checking, savings, or other financial accounts; certificates of deposit; shares in credit unions, brokerage houses,

and other similar institutions. If you have multiple accounts with the same institution, list each.

C) No
YES vv ccceteeeeeeeee institution name:
17.1, Checking account: NAVY FEDERAL CREDIT UNION $ 50.00
17.2. Checking account: WELLS FARGO BANK $ 250.00
17.3. Savings account NAVY FEDERAL CREDIT UNION $ 500.00
17.4, Savings account: $
17.5. Certificates of deposit: $
17.6, Other financial account: 5
17.7. Other financial account: %
17.8. Other financial account: 4
17.9, Other financial account: $
18.Bonds, mutual funds, or publicly traded stocks
Exampies: Bond funds, investment accounts with brokerage firms, money market accounts
No
CD Ves. Institution or issuer name:
$

49. Non-publicly traded stock and interests in incorporated and unincorporated businesses, including an interest in
an LLC, partnership, and joint venture

i No Name of entity: % of ownership:
Q Yes. Give specific 0% %
information about a
THEM... eeeeeeeeee 0% %
0,
0%

:
:
Official Form 106A/B Schedule A/B: Property page 5
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Debtor 1 TASHONDA ANQUIA LIGGINS Case number (fsnowny
Firs Name Middia Name Last Name
20. Government and corporate bonds and other negotiable and non-negotiable instruments
Negotiable instruments include personal checks, cashiers’ checks, promissory notes, and money orders.
Non-negotiable instruments are those you cannot transfer to someone by signing or delivering them.
WI No
CO) Yes. Give specific Issuer name:
information about
TO eecsesecscssssesoee $
$
$
21. Retirement or pension accounts
Examples: Interests in FRA, ERISA, Keagh, 401(k), 403(b), thrift savings accounts, or ather pension or profit-sharing plans
1] No
Wi Ves. List each
account separately. Type of account: Institution name:
404(k} or similar plan: THRIFT SAVINGS PLAN $
Pension plan: FERS $ 402.00
IRA: $
Retirement account: $
Keogh: $
Additional account: 5
Additional account: $
22. Security deposits and prepayments
Your share of all unused deposits you have made so that you may continue service or use from a company
Examples: Agreements with landlords, prepaid rent, public utilities (electric, gas, water}, telecommunications
companies, or others
\ No
CD YES voavsssssssneetsteees Institution name or individual:
Electric: $
Gas: $
Heating oil: $
Security deposit on rental unit: $
Prepaid rent: $
Telephone: $
Water: $
Rented furniture: $
Other: $
23. Annuities (A contract for a periodic payment of money to you, either for life or for a number of years)
Wl No
CD YeSwceccscwean. — [ssuer name and description:
$
$
Official Form 106A/B Schedule A/B: Property page 6
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Debtor 1 TASHONDA ANQUIA LIGGINS Case number (fknawny

First Name Middle Name Last Name

24. Interests in an education IRA, in an account in a qualified ABLE program, or under a qualified state tuition program.
26 U.S.C. §§ 530(b)(1}, 529A(b), and 529(b)(1).

1 No

CD YES veieninsnnnenesn Institution name and description. Separately file the records of any interests.11 U.S.C. § 521(c):

25. Trusts, equitable or future interests in property {other than anything listed in line 1), and rights or powers
exercisable for your benefit

i No

[) Yes. Give specific

|
i
information about them....! $

26. Patents, copyrights, trademarks, trade secrets, and other intellectual property
Examples: Internet domain names, websites, proceeds from royaities and licensing agreements

W No
QL) Yes. Give specific

information about them... $

27. Licenses, franchises, and other general intangibles
Examples: Building permits, exctusive licenses, cooperative association hoidings, liquor licenses, professional licenses

@ No

C] Yes. Give specific
information about them....

4

Money or property owed to you? Current value of the
portion you own?
Do not deduct secured
claims of exemptions.

28. Tax refunds owed to you

Wi No .

C Yes. Give specific information ‘ Federal:
about them, inctuding whether .
you already filed the returns State:

and the tax years...
Local:

29, Family support
Examples: Past due or lump sum alimony, spousal support, child support, maintenance, divorce settement, property settlement

W No

UL] Yes. Give specific information..............
| Alimony: $
| Maintenance: $
Support: $
Divarce settlement: $
Property settlement: $
: 30. Other amounts someone owes you

Examples: Unpaid wages, disability insurance payments, disability benefits, sick pay, vacation pay, workers’ compensation,

Social Security benefits; unpaid loans you made to someone else
W No
QO} Yes. Give specific information..............
$

Official Form 106A/B Schedule A/B: Property page 7

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Debtor 1 TASHONDA ANQU IA LIGGINS Case number (if known)

First Name Middle Name Last Name

31. Interests in insurance policies
Examples: Health, disability, or life insurance; health savings account (HSA), credit, homeowner's, or renter's insurance

Wi No

LJ Yes, Name the insurance company Company name: Beneficiary:
of each policy and list its value. ...

Surrender or refund value:

32, Any interest in property that is due you from someone who has died

property because someone has died.

CJ Yes. Give specific information............ |

33. Claims against third parties, whether or aot you have filed a lawsuit or made a demand for payment
Examples: Accidenis, employment disputes, insurance claims, or rights to sue

\@ No

C) Yes. Describe each claim. «0... |

to set off claims

@ No

CI Yes. Describe each claim. vr

35. Any financial assets you did not already list

W no

CJ Yes. Give specific information..........

36. Add the dollar vatue of all of your entries from Part 4, including any entries for pages you have attached

$
if you are the beneficiary of a living trust, expect proceeds from a life insurance policy, or are currently entitled to receive

No . eve one
\s
Is

34, Other contingent and unliquidated claims of every nature, including counterclaims of the debtor and rights

peso _ $
eee an eee et §
for Part 4, Write that mutrber Were ....c.ccccccccecscscsssssssssssssssssssssssssnssersnensssssseeseesceseessusceseeseeseeamnseeseeeteteranetaneeaeiinnscnenenience $

a Describe Any Business-Related Property You Own or Have an Interest In, List any real estate in Part 1.

37.0 you own or have any legai or equitable interest in any business-related property?
W No. Go to Part 6.
QL] Yes. Go to line 38.

38. Accounts receivable or commissions you already earned

W No

Current value of the
portion you own?

Do not deduct secured claims
or exemptions.

CI Yes. Desoribe.......

39, Office equipment, furnishings, and supplies

Examples: Business-related computers, software, modems, printers, copiers, fax machines, rugs, telephones, desks, chairs, electronic devices

M1 No

C) Yes. Beseribe.......

Official Form 106A/B Schedule A/S: Property

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Debtor 4 TASHONDA ANQUIA LIGGINS Case number granown)
First Name Middle Name Last Name .
40.Machinery, fixtures, equipment, supplies you use in business, and toois of your trade
Wi No
L] Yes. Describe...... ,
|
41.Inventory
dé No ecw eee tysnasminaneennnsnensnen it “
CI Yes. Describe....... 8
42. Interests in partnerships or joint ventures
Gd No
CI Yes. Describe....... Name of entity: 0% of ownership:
o%, $
m%, §
% $
43. Customer lists, mailing lists, or other compilations
Wd No
C) Yes. Do your lists include personally identifiable information (as defined in 11 U.S.C. § 101(41A)}?
[3 No
Yes. Desoribe........ |
$
44, Any business-related property you did not already list
Ld No
C) Yes. Give specific 5
information ........
$
$
$
$
$
45. Add the dollar value of all of your entries from Part 5, including any entries for pages you have attached $ 6.00

for Part 5. Write that mtsmber Mere ccccscssssssscscccsvscsscscssscossecsuseescoesscsnsseonerssetsssenerstauvunenseesesesansneceecsannsssineneserieseenseessesseteis SD

Describe Any Farm- and Commercial Fishing-Related Property You Own or Have an interest In.
if you own or have an interest in farmland, list it in Part 1.

46.Do you own or have any legal or equitable interest in any farm- or commercial fishing-related property?

Gd No. Go to Part 7.
C) Yes. Geo to line 47.

47, Farm animals
Examples: Livestock, poultry, farm-raised fish

Gd No
CD VS caicccccssscccsssscsccen

Official Form 106A/B Schedule A/B: Property

Current value of the
portion you own?

Do nef deduct secured claims
or exemptions.

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Debtor 1 TASHONDA ANQUIA LIGGINS

First Name Middle Name Last Nama

48, Crops—either growing or harvested

a No mmr sa sess cceceunnseneesat eps msmimmnensceniniin enninne.immonncnuinnnneneincet te ttm

CY Yes. Give specific
information. ............

Case number (it snown)

49.Farm and fishing equipment, implements, machinery, fixtures, and tools of trade

WI No

DYES oe

50.Farm and fishing supplies, chemicals, and feed

No

§1. Any farm- and commercial fishing-related property you did not already list
J No

E] Yes. Give specificf
Information. ............

52, Add the dollar vaiue of all of your entries from Part 6, including any entries for pages you have attached

for Part 6. Write that number here

Describe All Property You Own or Have an Interest in That You Did Not List Above

0.00

63, Bo you have other property of any kind you did not already list?
Examples: Season tickets, country club membership

J No

C) Yes. Give specific
information...

54, Add the dollar value of all of your entries from Part 7. Write that MuUmber Mere oon... ee eee ences tesctetsersn tee eeseeseentne

Era List the Totals of Each Part of this Form

$ 0.00

65, Part t: Total real astate, [Me 2 ccc scccssscssccesssscscsssceseeceeceesessssusanscaneserseneesseascessssceusscesnesseesestssqaes scene seene tlaaenenaeeaseneereneestanestianeeys

656. Part 2: Total vehicles, line 5 3 10,125.00
57, Part 3: Total personal and household items, line 15 $ 9,150.00
58. Part 4: Total financial assets, line 36 $ 1,000.00
59. Part 5: Total business-related property, line 45 $ 9.00
60. Part 6: Total farm- and fishing-related property, line 52 $ 0.00
61. Part 7: Total other property not listed, line 54 +3 0.00
62. Total personal property. Add lines 56 through 61... $ 20,275.00

63. Total of all property on Schedule AB. Add fine 55 + be G2... eee ten rete rercetee sn neesnsassneenesenere cats enaeecaeeeineanens

Official Form 106A/B Schedule A/5: Property

¢ _ 250,091.00

Copy personal property total > +5 20,275.00

5 __ 20,275.00

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UST M cet Cem E A gm fed orate

Debtor 1 TASHONDA ANQUIA LIGGINS
First Name Middle Name LastName

Debtor 2

(Spouse, if filing) First Name Middle Name Last Name

United States Bankruptey Court for the: District of New Jersey

Case number ) Check if this is an
{HF Known} amended filing

Official Form 106C
Schedule C: The Property You Claim as Exempt 04/22

Be as complete and accurate as possible. If bwo married people are filing together, both are equally responsible for supplying correct information.
Using the property you listed on Schedule A/B: Property (Official Form 106A/8) as your source, list the property that you claim as exempt. If more
space is needed, fill out and attach to this page as many copies of Part 2: Additional Page as necessary. On the top of any additional pages, write
your name and case number (if known).

For each item of property you claim as exempt, you must specify the amount of the exemption you claim. One way of doing so is to state a
specific dollar amount as exempt. Alternatively, you may claim the full fair market value of the property being exempted up to the amount
of any applicable statutory limit. Some exemptions—-such as those for health aids, rights to receive certain benefits, and tax-exempt
retirement funds—may be unlimited in dollar amount. However, if you claim an exemption of 100% of fair market value under a law that
limits the exemption to a particular dollar amount and the value of the property is determined to exceed that amount, your exemption
would be limited to the applicable statutory amount.

Identify the Property You Claim as Exempt

4, Which set of exemptions are you claiming? Check one only, even if your spouse is filing with you.

i You are claiming state and federal nonbankruptcy exemptions. 11 U.S.C. § 522(b)(3)
(2 You are claiming federal exemptions. 11 U.S.C. § 522(b\(2)

2. For any property you list on Schedule A/B that you claim as exempt, fill in the information beiow.

Brief description of the property and line on Current value of the Amount of the exemption you claim Specific laws that allow exemption
Schedule A/B that lists this property portion you own
Copy the value from Check only one box for each exemption.
Schedule A/B
Brief 11US$522(2)(A)
description: 204 STEPHENS ST $453,000.00 Os HOMESTEAD EXEMP.

Wi 100% of fair market value, up to

Line f

Schedule AB: 1,1 any applicable statutory limit

ee ton, . 2O1I9MITS. OUTLAN — 12,608.00 Os WILD CARD eM
- i 100% of fair market value, up to

Line f 31 ‘o , Up

Schedule AB: any applicable statutory jimit

Brief

description: $ Cs

Line from (C) 100% of fair market value, up to

Schedule A/B: any applicable statutory fimit

3. Are you claiming a homestead exemption of more than $189,050?
(Subject to adjustment on 4/01/25 and every 3 years after that for cases filed on or after the date of adjustment.}

OQ) No
A Yes. Did you acquire the property covered by the exemption within 1,275 days before you fited this case?

CJ No
i Yes

Official Form 106C Schedule C: The Property You Ciaim as Exempt page fof '~
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Debtor 1 TASHONDA ANQUIA LIGGINS Case number ¢Fknown)

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First Nama Middle Name Last Name

co Additional Page

Brief description of the property and line
on Schedule 4/8 that lists this property

Current value of the Amount of the exemption you claim Specific iaws that allow exemption
portion you own

Copy the value from Cheek only one box for each exemption
Schedule A/B
Brief
description: $ Cs
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from C) 100% of fair market vatue, up to
Schedule A/B: ———— any applicable statutory timit
Brief
description: $ Cs
Line from QC 100% of fair market value, up to
Schedule A/B: ~~ any applicable statutory jimit
Brief
description: $ Cis
Line from £) 100% of fair market value, up to
Schedule A/B: any applicable statutory timit
Brief
description: $ )s
Line from ©} 100% of fair market value, up to
Schedule A/B:. ——— any applicable statutory limit
Brief
description: $ Os
Line from i] 100% of fair market value, up to
Schedule A/B: any applicabte statutory limit
Brief
description: $ Cs
Line from Ll 160% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Cs
Line from C) 100% of fair market value, up to
Schedule A/B: -—-——— any applicable statutory limit
Brief
description: $ Os
Line from CJ 100% of fair market value, up to
Schedule A‘B: any applicable statutory limit
Brief
description: $ Ls
Line from C) 100% of fair market value, up to
Schedule A/B: any applicable statutory limit
Brief
description: $ Os
Line from (] 100% of fair market vatue, up to
Schedule A/B;. ———— any applicable statutory limit
Brief
description: $ Os
Line from ©] 100% of fair market value, up to
Schedule A/B: any applicable statutory limit

Official Form 166C

Schedule C: The Property You Claim as Exempt page 2 of
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PTT MUU EM LCE Cele Comie(al iia cell lmecti

peptort  TASHONDA ANQUIA LIGGINS
First Name Middle Name Last Nama

Debtor 2

{Spouse, if filing} Fist Name Middle Name Last Name

United States Bankruptcy Court for the: District of New Jersey

Case number
{if known)

(} Check if this is an
amended filing

Official Form 106D
Schedule D: Creditors Who Have Claims Secured by Property

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the Additional Page, fill it out, number the entries, and attach it to this form. On the top of any
additiona! pages, write your name and case number (if known).

12/15

1. Bo any creditors have claims secured by your property?
) No. Check this box and submit this form to the court with your other schedules, You have nothing else to report on this form.

Yes, Fill in ail of the information below.

Ea List All Secured Claims

2. List all secured claims. If a creditor has more than one secured claim, list the creditor separately
for each claim. If more than one creditor has a particular claim, list the other creditors in Part 2.
As much as possible, list the claims in alphabetical order according to the creditor's name.

Column A=
Amount of claim

[2.4] PENNY MAC HOME LOANS
Creditors Name

20500 BELSHAW AVENUE

Describe the property that secures the claim:

204 STEPHENS STREET BELLEVILLE,
Nu

Who owes the debt? Check one.

MI Debtor 4 only

C) Debtor 2 only

CY Rebter 4 and Debtor 2 only

CY At least one of the debtors and another

(A Check if this claim relates to a
community debt .
4 01/01/2017

Date debt was Incurre

Numder Street
As of the date you file, the claim is: Check ail that apply.
Contingent

CARSON CA 90746 Wf Uniiquidated

City State ZIP Code (3 Disputed

Nature of lien. Check all that apply.

ff An agreement you made (such as mortgage or secured
car loan)

Q Statutory Hen (such as tax lien, mechanic's lien}

Judgment lien fram a lawsuit

CQ) Other {including a right to offset)

Last 4 digits of account number & 6 5 6

| 2.21 CHASE BANK AUTO LOAN

Creditors Nama

PO BOX 901076

Describe the property that secures the claim:

53,850.00 ¢

12,608.00 , 3,850.00

2019 MITSUBISHI OUTLANDER

Number Street
FORT WORTH TX 76101
Cliy State ZIP Cade

Who owes the debt? Check ane.

Wd Debtor 1 only

QO Debtor 2 only

CQ Debtor 1 and Debtar 2 only

CQ) Atleast one of the debfors and another

QO) Check if this claim relates toa
community debt

Date debt was incurred 01/01/2016

As of the date you file, the claim is: Check all that apply.
Q Contingent

G4 Unliquidated

QO Disputed

Nature of lien. Check all that apply.

of An agreement you made (such as morigage or secured
car loan)

C1 Statutory tien (such as tax lien, mechanic's lien}

Judgment lien from a lawsuit

CQ) Other {inctuding a right to offset)

Last 4 digits of account number 6 6 5 6

Add the dollar value of your entries in Column A on this page. Write that number here:

f 254,850.00 |

Official Form 106D

Schedule D: Creditors Who Have Claims Secured by Property

page 1 of L
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TTR CM LL.M CMC rat Rua el Were

Case number

pebor1 4 TASHONDA = ANQUIA LIGGINS
First Nama Middie Name Last Name

Debtor 2

(Spouse, if filing} First Name Middie Name bast Name

United States Bankruptcy Court for the: District of New Jersey

(if known}

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

L} Check if this is an
amended filing

12/15

Be as complete and accurate as possible. Use Part 1 for creditors with PRIORITY claims and Part 2 for creditors with NONPRIORITY claims.
List the other party to any executery contracts or unexpired leases that could result in a claim. Also list executory contracts on Schedule
A/B: Property (Official Form 106A/B) and on Schedule G: Executory Contracts and Unexpired Leases (Official Form 106G). Do not include any
creditors with partially secured claims that are listed in Schedule D: Creditors Who Have Ciaims Secured by Property. If more space is
needed, copy the Part you need, fill it out, number the entries in the boxes on the left. Attach the Continuation Page to this page. On the top of
any additional pages, write your name and case number (if known).

List Ali of Your PRIORITY Unsecured Claims

| 4. Do any creditors have priority unsecured claims against you?

CJ No. Go to Part 2.

wi Yes.

2. List ali of your priority unsecured claims. If a creditor has more (han one priority unsecured claim, list the creditor separately for each claim. For
each claim listed, identify what type of claim itis. If a claim has both priority and nonpriority amounts, list that claim here and show both priority and
nonpriority amounts. As much as possible, list the claims in alphabetical order according to the creditor's name. If you have more than two priority
unsecured claims, fill out the Continuation Page of Part 1. if more than one creditor holds a particular claim, list the other creditors In Part 3.

(For an explanation of each type of claim, see the instructions for this ferm in the instruction booklet.)

PUBLIC SERVICE ENERGY & GAS

Priority Creditor’s Name

80 PARK PLACE

Number Streat
NEWARK NJ 07102
City State ZIP Code

Who incurred the debt? Check one.

MA Debtor 4 only

C) pebtor 2 only

CJ Bebter 1 and Debtor 2 only

C) At least one of the debtors and another

©) Check if this claim is for a community debt
Is the claim subject to offset?

No
O] ves

Total la

Last 4 digits of account number 6 6 5 6

When was the debt incurred? 01/01/2017

As of the date you file, the claim is: Check all that apply.
G] Contingent

a Untiquidated

Cl) Disputed

Type of PRIORITY unsecured claim:

() Domestic support obligations
(J Taxes and cerlain other debts you owe the governrent

Q) Ctaims for death or personal injury while you were
intoxicated

a Other. Specify UTILITY

© Priority. Nonpriority
‘amount -ooo-Samount ooo:

$__1,000.00 $ 1,000.00 s

22 | TOWNSHIP OF BELLEVILLE

: Priority Creditor’s Name

WATER BUREAU

Number Street
152 WASHINGTON AVENUE

BELLEVILLE NJ 07109

City State ZIP Code

Who incurred the debt? Check one.
Debtor 1 only

Q) Debtor 2 only

Q) Debter 1 and Debtor 2 only

C2) At least one of the debtors and another

Gl Check if this claim is for a community debt
Is the claim subject to offset?

a No
Cl yes

Official Form 106E/F

Last 4 digits of account number 6 6 3 & §

750.00 ¢

750.00 ,

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.
QO Contingent

Untiquidated
QO Disputed

Type of PRIORITY unsecured claim:
Ci Domestic support obligations
CQ) taxes and certain other debts you owe the government

(2 Claims for death or personal injury while you were
intoxicated

WM otser. Speoy UTILITY

Schedule E/F: Creditors Who Have Unsecured Claims

page i of I

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TASHONDA ANQUIA

Debtor 7

Petition
LIGGINS

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Case number (ifksown)

First Nama Middle Name

Last Name

te Your PRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 2.3, followed by 2.4, and so forth.

FALONI LAW GROUP

Priority Creditor’s Name

425 EAGLE ROCK AVENUE

Number Street

SUITE 404

ROSELAND NJ 07068
City State ZIP Code

Who incurred the debt? Check one.

we Debtor 1 only

LY Debtor 2 only

(J Debter 1 and Debtor 2 only

CJ At least one of the debtors and another

QO) Check if this claim is for a community debt

Is the claim subject to offset?

C No

Yes

311,500.00 $1,500.00 ¢

&§ 65 6

Last 4 digits of account number

When was the debt incurred? 07/23/2024

As of the date you file, the claim is: Check all that apply.

QO Contingent
Q Unliquidated
Disputed

Type of PRIORITY unsecured claim:

O Domestic support obligations
(4 Taxes and certain other debts you owe the government

(2 Claims for death or personal injury white you were
intoxicated

wi Other. Specify DISPUTED DEBT

Last4digitsofaccountnumber $ $
Priority Creditors Name
When was the debt incurred?
Number Street
As of the date you file, the claim is: Check all that apply.
QO Contingent
City State ZiP Code OQ) Unliguidated
QO Disputed
Who incurred the debt? Check one.
CJ Debtor 1 only Type of PRIORITY unsecured claim:
U1 Debtor 2 only €] Domestic support obligations
LY Debter 1 and Debtor 2 only .
(0 Taxes and certain other debts you owe the government
LJ At feast one of the debtors and another . a ,
: (4 Clainis for death or personal injury while you were
(C) Check if this claim is for a community debt intoxicated
C1 other. Specify
Is the claim subject to offset?
: C) No
__. ves .
Last 4 digits of account number § $ §

Priority Creditors Name

Number Street

City State ZiP Code

Who incurred the debt? Check one.

CY Bebtor 1 only

O) Debtor 2 only

O] debtor 1 and Debtor 2 only

C1 At least one of the debtors and another

1 Check if this claim is for a community debt

is the claim subject to offset?

Ll No
CJ Yes

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

oO Contingent
Q Unliquidated
Q Disputed

Type of PRIORITY unsecured claim:

Domestic support obligations
Taxes and certain other debts you owe the government

Claims for death or persona injury while you were
intoxicaled

Other. Specify

C COC

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Petition

TASHONDA ANQUIA LIGGINS

Debtor 4

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Case number (fénawn)

First Name Middia Nama Last Nama

Ea List AH of Your NONPRIORITY Unsecured Claims

3. Do any creditors have nonpriority unsecured claims against you?
©] No. You have nothing to report in this part. Submit this form to {he court with your cther schedules.

Yes

: 4, List all of your nonpriority unsecured claims in the alphabetical order of the creditor who holds each claim. If a creditor has more than one
nonpriority unsecured claim, list the creditor separately for each claim. For each claim listed, identify what type of claim it is. Do not list claims already
included in Part 1. If more than one creditor holds a particular claim, list the other creditors in Part 3.H you have more than three nonpriority unsecured

claims fill out the Continuation Page of Part 2.

“Total claim
DISCOVER CARD Last 4 digits of account number ©. 6 5 6 4.500.00
Nanpriority Crecitar’s Name $C
PO BOX 30416 When was the debt incurred?
Number Street
SALT LAKE CITY UT 84130
City State ZIP Code As of the date you file, the claim is; Check ail that apply.
(i Contingent
Who incurred the debt? Check one. Unliquidated
Y Debtor 1 only O Disputed
4 Debtor 2 only
( Debtor 1 and Debtor 2 only Type of NONPRIORITY unsecured claim:
UJ At teast one of the debtors and another QQ Student loans
O Check if this claim is for a community debt QO Obligations arising out of a separation agreement or divorce
that you did not report as priority claims
Is the claim subject to offset? O) Debts te pension of profit-sharing plans, and other simitar debts
: i no @ other. Specify CREDIT CARDS
: CQ Yes
2 | AMERICAN EXPRESS Last 4 digits of account number 6 6 uT5 6 g___-1,800.00 -
Nonpricrity Creditor's Name When was the debt incurred? 01/01/2019
PO BOX 981535
: Number Street
: EL PASO TX 79998 As of the date you file, the claim is: Check all that apply.
City State ZIP Code Q Contingent
: Who incurred the debt? Check one. (Wi Uniiquidated
Yi Debtor 1 only CJ Disputed
: (J Debtor 2 only ;
O Debtor 4 and Debtor 2 only Type of NONPRIORITY unsecured claim:
: ( At least one of the debtors and another QO) Student loans
: ou , . Q Obligations arising out of a separation agreement or divorce
i Ol Check if this claim is for a community debt that you did not report as priority claims
Is the claim subject to offset? U1 debts to pension or profit-sharing plans, and other similar debts
Eno bl Other. Specify CREDIT CARD
: Yes
ts | BLOOMINGDALES CREDIT SERVICES Last 4 digits of account number 6 6 5 _6 § 45,000.00
Nonprionty Gredors Name When was the debf incurred? 01/01/2019

28-07 JACKSON AVENUE

Number Street
QUEENS NY 11101
Clty State ZIP Code

Who incurred the debt? Check one.

Ww Debtor 1 only

Cd Rebtor 2 only

CJ Bebtor 4 and Debtor 2 only

(al At least one of the debtors and another

) Check if this claim is for a community debt

Is the claim subject to offset?

U No
CO} ves

Official Form 1G6E/F

As of the date you file, the claim is: Check afl that apply.

1 Contingent
a Unliquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

QC) Student loans

(2 Obligations arising out of a separation agreement or divorce
that you did not report as priority claims

C) Debts to pension or profit-sharing plans, and other similar debts

Wf other. Specity CREDIT CARDS

Schedule E/F: Creditors Whe Have Unsecured Claims

paged ot!

Debtor 1

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LIGGINS

TASHONDA ANQUIA

First Name. Middle Name Last Name

Case number (if krawa),

Desc

co Your NONPRIORITY Unsecured Claims — Continuation Page

: After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

44

KOHL'S CREDIT SERVICES

Nonpriorily Creditors Name

N56 W71700 RIDGEWOOD DRIVE

Number Street

Last 4 digits of account number 6 5 5 6
04/07/2019

When was the debt incurred?

As of the date you file, the claim Is: Check ail that apply.

s 5,000.00

MEOONEE FALLS WI 53051
City State ZIP Code CQ Contingent
4 Unliquidated
Who incurred the debt? Check one. © Disputed
a Debtor 1 only
(1) Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 1 and Debtor 2 only (2 Student loans
At Jeast one of the debtors and another U Obligations arising out of a separation agreement ar divorce that
LJ] Check if this claim is for a community debt you did not report as priority claims .
(2 Debts to pension er profit-sharing plans, and other similar debts
is the claim subject to offset? , CREDIT CARD
Other, Specify
a No
QO] ves
45 | :
I CAPITAL ONE CREDIT SERVICES Last 4 digits of account number 6 & 5 8 3_ 7,000.00 :
Nonpriority Creditors Name 11/04/2019 :
i ?
1680 CAPITAL ONE DRIVE When was the debt incurred?
Number Street -
MCLEAN VA 22102 As of the date you file, the claim Is: Check ail that apply.
City Stale ZIP Code Ci Contingent
Wd unliquidated
Who incurred the debt? Check one. QO Disputed
WW Debtor 1 only
CJ Debtor 2 only Type of NONPRIORITY unsecured claim:
4 Debtor 1 and Debtor 2 only CJ Student toans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
CJ Check if this claim is for a community debt you did nat report as priority claims
() Debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? other. Spaciy CREDIT CARD
ff No
UL) Yes
4.6] 5 1,500.00.
| MACY'S Last 4 digits of account number 6 6 5 &
Nonpriorty Creditors Name
451 W 347TH STREET When was the debt incurred? 01/01/2018
Number Sbreet —
NEW YORK NY 40001 As of the date you file, the claim is: Check ali that apply.
City State ZIP Code QU) Contingent

Official Form 106E/F

Who incurred the debt? Check one.

Debtor 1 only

L) Debtor 2 only

(2 Debtor 1 and Debtor 2 only

U At teast one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

ua No
QO) Yes

V1 Untiquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

CQ) debts to pension or profit-shazing pians, and olher simiar debts

Wi other. Specity CREDIT CARD

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor’  TASHONDA ANQUIA LIGGINS

First Name Middle Name Last Name

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Case number (if kaawn)

Eo Your NONPRIORITY Unsecured Claims — Continuation Page

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4
WALMART CREDIT SERVICES

Last 4 digits of account number 6 6 5 6 5 4,000.00:
Nenpriority Creditors Name 01/01/201 g :
i ?
702 SW? 8TH STREET When was the debt incurred
Number Street . ga,
BENTONVILLE AR 72716 As of the date you file, the claim is: Check all that apply.
City State ZIP Code QO) Contingent
hd Unliquidated
Who incurred the debt? Check one. 2 Disputed
4 Debtor 1 only
() Debtor 2 only Type of NONPRIORITY unsecured claim:
L] Debtor 1 and Debtor 2 only O Student oans
O1 Atieast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
cape ag + you did not report as priority claims
O) Check if this claimis for a community debt O) debts to pension or profit-sharing plans, and other similar debts
is the claim subject to offset? MM other. Specity CREDIT CARD
ad No
O) ves
4.8] ' Last 4 digits of accountnumber 6 6 5 6G §,000.00
NFL CARD SERVICES C/O BARCLAY'S BANK 8 — = > sv.
Nonpriority Creditors Name
PO BOX 60517 When was the debt incurred? 01/01/2018
Number Street
ile, laim is: :
CITY OF INDUSTRY CA 1716 As of the date you file, the claim is: Check all that appiy.
Cy Stale aie Code CY contingent
WE Unliquidated
Who incurred the debt? Check one. CG Disputed
Debtor 1 anly
: (7 Debtor 2 only Type of NONPRIORITY unsecured claim:
(4 Debtor 1 and Debtor 2 only CQ Student toans
LU At least one of the dabtors and another QO Obligations arising out of a separation agreement or divorce that
i Se det you did not report as priority claims
: k if this claim fs fi ity debt
: O) Check if this claim Is for a commun yee OC) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? w Other. Specify CREDIT CARD
i No
: O Yes
4.9] g 5,000.00

LL BEAN CREDIT CARD SERVICES

Nonpzvicrity Creditors Name

PO BOX 9001068

Number Street
LOS ANGELES CA $0024
City State ZiP Code

Who incurred the debt? Check one.

Wi Debtar 1 only

Q) Debtor 2 only

(] Debtor 1 and Debtor 2 only

OQ At least one of the debtors and another

(J Check if this claim is for a community debt

Is the claim subject to offset?

i Na
CQ Yes

Official Form 406E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last4 digits of account number 6 6 5 6
When was the debt incurred? 01/01/2019

As of the date you file, the claim is: Check all that apply.

Q Contingent
Wi Unliquidated
OQ Disputed

Type of NONPRIORITY unsecured claim:

(2 Student loans

QO Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debis

A other. Specty CREDIT CARD

nage) of \ \
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bebtort ~~ TASHONDA ANQUIA LIGGIINS

First Name fMiddia Nama Last Name

Case number (it known),

Your NONPRIORITY Unsecured Claims — Continuation Page

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and So forth.

TARGET CREDIT SERVICES

Nonpriority Creditor's Name

3901 W 53RD STREET

Number Street
SIOUX FALLS SD 57106
City State ZIP Code

Who incurred the debt? Check one.

(A debtor 1 only

Q) debtor 2 only

{J Debtor 1 and Debtor 2 only

(J At least one of the debtors and another

Q] Check if this claim is for a community debt

ts the claim subject to offset?

Last 4 digits of account number 8 & 5S 2 3 5,000.00
01/01/2017

When was the debt incurred?

As of the date you file, fhe claim is: Check all that apply.

Contingent
wi Unliquidated
QO} disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

QO) obligations arising out of a separation agreement or divorce that
you did not report as priority claims

Q] Debts ta pension or profit-sharing plans, and other similar debts

ad Other. Specify CREDIT CARD

wf No
Q) Yes
11 |
AFFIRM CREDIT SERVICES Last 4 digits of account number 6 6 5 6 3 1,500.00
Nonpriorsity Creditor's Name 01/01/2024
i d?
650 CALIFORNIA STREET FL. 12 When was the debt incurred? | <n
member nee As of the date you file, the claim is: Check all that appl
SAN FRANCISCO CA 94108 so you Mle, Whe claim ts: Bingen ah nar SPP:
City Stale ZIP Code Q) Gentingent
: Wd Unliquidated
Who incurred the debt? Check one. OQ Disputed
Uw Debtor 1 only
() Debter 2 only Type of NONPRIORITY unsecured claim:
(2 Debtor 1 and Debtor 2 only OC) Student loans
Ci Atleast one of the debtors and another Q Obligations arising out of a separation agreement or divorce that
3 Check if this claim is for a community debt you did not report as priority claims os
CQ) Debts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Mother. Specify CREDIT
Wf No
Q) ves
12 | ;_ 1,000,00

HOME DEPOT CREDIT SERVICES

Nonariority Creditor's Name

PO BOX 7032

Number Street

SIOUX FALLS sD 57117
City State ZIP Code

Who incurred the debt? Check one.

Debtor 7 only

(A Debtor 2 only

(J Debter 1 and Debtor 2 onfy

(A At least one of the debtors and another

CQ) Check if this claim is for a community debt

ls the claim subject to offset?

No
CI Yes

Official Form 406E/F

Schedule E/F: Creditors Who Have Unsecured Claims

Last 4 digits of account number 6 6. 3. 6
01/01/2017

When was the debt incurred?

As of the date you file, the claim is: Check ail that apply.

QO Contingent
Unliquidated
oO Disputed

Type of NONPRIORITY unsecured claim:

CY Student loans

oO Obtigations arising out of a separation agreement or divorce that
you did not report as priority claims

CJ Debts to pension or profit-sharing plans, and other similar debts

4 other. Speciy CREDIT CARD

pod) of (|
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Desc

Debtor 1 TASHONDA ANQUIA

First Name Middle Name Last Name

Case number (ifknown)

Ea Your NONPRIORITY Unsecured Claims — Continuation Page

| After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

13
FIRST PREMIER BANK

Nonpriority Creditor’s Name

3401 SO KIWANIS AVENUE

Number Street
SIOUX FALLS SD 57106
City State ZIP Code

Who incurred the debt? Check one,

i Debtor 4 only

QO) debtor 2 only

) debtor 4 and Debtor 2 only

©) At least one of the debtors and another

U Check if this claim is for a community debt

is the claim subject to offset?

bl No
Gl Yes

Last 4 digits of account number 665 6 g 900.00
01/01/2018

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

Q Contingent
ad Unliquidated
Q Disputed

Type of NONPRIORITY unsecured claim:

OC) Stident loans

C) Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(] Debts to pension or profit-sharing plans, and other similar debts

Wf other. Specity CREDIT CARD

OLD NAVY CREDIT C/O BARCLAYS BANK

Nonpriocity Creditors Name

PO BOX 8801

Number Streat

WILMINGTON DE 19899
City State ZIP Code

Wine incurred the debt? Check one.

“ Debtor 1 only

CO Debter 2 only

(J Rebter 1 and Debtor 2 only

() At least one of the debtors and anather

CQ] check if this claim is for a community debt

Is the claim subject to offset?

Last 4 digits of account number 6 6

6 5 6 5 2,500.00.
01/01/2019

When was the debt incurred?

As of the date you file, the claim is: Check all that apply.

a) Contingent
i Untiquidated
a Disputed

Type of NONPRIORITY unsecured claim:

(0 Student loans

u Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

(J Debts to pension or profit-sharing plans, and other similar debts

W& other. Specity CREDIT CARD

Nenpriority Creditor's Name

10940 WILSHER BLVD

Number Street
LOS ANGELES CA 90024
Gily State ZIP Code

Who incurred the debt? Check one.

WM Debtor 1 only

LI Debtor 2 only

CJ Debtor 1 and Debtor 2 only

CL) At least one of the debtors and another

C1] Check if this claim is for a community debt

is the claim subject to offset?

i No
O ves

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

od No
UO Yes

5 | se Raa
SUNBIT BANK Last 4 digits of account number 6 6 5 6 rm

01/01/2020

When was the debt incurred?

As of the date you file, the claim is: Check ali that apply.

Oo Contingent
Unitiquidated
QO Disputed

Type of NONPRIORITY unsecured claim:

Q) Student loans

Q Obligations arising out of a separation agreement or divorce that
you did not report as priority claims

QC) debts ta pension or profit-sharing plans, and other similar debts

1A Other. Specify CREDIT CARD

nage | of Al
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LIGGINS

Desc

TASHONDA

Debtor 1

ANQUIA

First Nama Middle Name Last Name

Case number (ifkeaway

Your NONPRIORITY Unsecured Claims — Continuation Page

' After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

VICTORIA'S SECRET CREDIT SERVICES Last 4 digits of account number 6 6 5 6 $_ 2,500.00:
Nonpriority Creditar's Name | 1 (01/201 6
FOUR LIMITED WAY When was the debt incurred?
Number Street . aa
REYNOLDSBURG OH 43068 As of the date you file, the claim is; Check all that apply.
Giy State ZIP Code QO) Contingent
Wf unliquidated
Who incurred the debt? Check one. Disputed
[J Cebtor 4 only
Q) Debtor 2 only Type of NONPRIORITY unsecured claim:
C) Debtor 4 and Debtor 2 only (> Student loans
: C1 Atleast one of the debtors and another () Obligations arising cut of a separation agreement or divorce that
QO) Check if this claim is for a community debt you did nat report as priority claims .
: L) Cebts to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? Mf other. Specity CREDIT CARD
if No
: QO Yes
[17 | ig 6 6 5 6 1,500.00
LOWES CREDIT SERVICES Last 4 digits of accountnumber 9 OD YD § il, : :
Nonpriority Creditors Name 01/01/2020 /
4000 LOWES BLVD When was the debt Incurred?
Number Street aa
MOORESVILLE Nc 28117 As of the date you file, the claim is: Check all that apply.
Cily State ZIP Code ©) Contingent
VU Uniiquidated
Who Incurred the debt? Check one. ) disputed
<4 Debtor 1 only
C1) Debtor 2 only Type of NONPRIORITY unsecured claim:
€] Debtor 1 and Debtor 2 only CJ Student loans
C1 Atleast one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
C] Check if this claim fs for a community debt you did not report as priority claims a
(CJ Debits to pension or profit-sharing plans, and other similar debts
Is the claim subject to offset? W other. Specity CREDIT CARD
od No
O Yes :
[18 | 665 6 3 3,500.00.
TJ MAXX STORES CREDIT SERVICES Last 4 digits of account number O_O 2 0.
Nonpviorily Creditor's Name 07/01/2018
Whi i ?
901 LINCOLN DRIVE en was the debt incurred
Number Street
ile, : h ly.
MARLTON NJ 08053 As of the date you file, the claim Is: Check all that apply
Clty State ZIP Cade Q Contingent

Official Form 106E/F

Whe incurred the debt? Check one.

i Debtor 1 only

C) Debtor 2 onty

) Debtor 4 and Debtor 2 only

() At teast one of the debtors and another

C) Check if this claim is for a community debt

Is the claim subject to offset?

i No
QO ves

Wd Untiquidated
(D Disputed

Type of NONPRIORITY unsecured claim:

LJ Student loans

J Obligations arising out of a separation agreement or divorce that
you did not veport as priority claims

(2 Debts to pension or profit-sharing plans, and other similar debts

Yi Other, Specify. CREDIT CARD

Schedule E/F: Creditors Who Have Unsecured Claims

save b. of \L
Debtor 1

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Petition

TASHONDA ANQUIA LIGGINS

First Nama Middis Name Last Nama

Case number (fkrown)

Desc

ee Your NONPRIORITY Unsecured Ciaims — Continuation Page

17

After listing any entries on this page, number them beginning with 4.4, followed by 4.5, and so forth.

VERIZON Last 4 digits of account number 6 6 5 & 5 1,000.00
Nonpriority Creditor's Name 01/01/2015 ;
?
ONE VERIZON WAY VC54N090 When was the debt incurred?
Number Street .
BASKING RIDGE NJ 07920 As of the date you file, the claim Is: Check all that apply.
City Stale ZIP Cada QO) Contingent
wi Unliquidated
Who incurred tiie debt? Check one. C] Disputed
4 Debtor only
LJ Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor * and Debtor 2 only CI Student loans
At least one of the debtors and another QO Obligations arising out of a separation agreement or divorce that
CJ Check if this claim is for a community debt you did not report as priority claims .
C) Debts to pension or profit-sharing pans, and other similar debts
is the claim subject to offset? BA other. Specity UTILITY
= Ol No
: Yes
[18 | 6 6 5 6 17,000.00
"— SUPERIOR COURT OF NEW JERSEY -SP CIVIL Last 4 digits of account number OO 9 0 $17,000.00
Nonpriorty Creditor's Name . 01/01/2021
420 MLK BLVD When was the debt incurred?
Number Street sa
NEWARK NJ 07102 As of the date you file, the claim is: Check ail that apply.
Cily State ZIP Sode Q Contingent
OQ Unliquidated
Who incurred the debt? Check one. a Disputed
i Debtor 7 only
(ad Debtor 2 only Type of NONPRIORITY unsecured claim:
5 Debtor 4 and Debtor 2 only C Student toans
At least ane of the debtors and another (2 Obligations arising out of a separation agreement or divorce that
C] Check if this claim is for a community debt you did not report as priority claims a
LJ Debts to pension or profit-sharing plans, and other simifar debts
Is the claim subject to offset? 04 other. Specity GARNISHMENT
LI No
Yes
19 665 6 g 2,900.00 |
AMAZON CREDIT SERVICES Last 4 digits ofaccountnumber O 0 9 UD :
Nonpriority Gredior's Name
» 01/01/2020
410 TERY AVENUE N When was the debt incurred
Number Street
file, th : .
SEATTLE WA 98109 As of the date you file, the claim is: Check all that apply
Ciy Stale ZIP Code (J Contingent

Official Farm 106E/F

Who incurred the debt? Check one.

L) Debtor 1 only

LI Debtor 2 only

LJ Debtor 1 and Debtor 2 only

L) At feast one of the debtors and another

C3 Check if this claim is for a community debt

Is the claim subject to offset?

LE No
(3 Yes

( Unliquidated
Cl] Disputed

Type of NONPRIORITY unsecured claim:

(Student toans

Q Obligations arising out cf a separation agreement of divorce that
you did not report as priority clairns

(J Debts to pension or profit-shazing plans, and other similar debts

CJ other. Specify.

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor 1 TASHONDA ANQUIA LIGGINS Case number (ifkeovn)
First Name Middle Name. Last Name
Ss List Others to Be Notified About a Debt That You Already Listed -

5. Use this page only if you have others to be notified about your bankruptcy, for a debt that you already listed in Parts 1 or 2. For

Official Form 106E/F

example, if a collection agency is trying to collect from you for a debt you owe to someone else, list the original creditor in Parts 1 or
2, then list the collection agency here. Similarly, if you have more than one creditor for any of the debts that you listed in Parts 1 or 2, list the
additional creditors here. If you do not have additional persons to be notified for any debts in Parts 1 or 2, do not fill out or submit this page.

MICHAEL J. LANZO

On which entry in Part 1 or Part 2 did you lst the original creditor?

Name
PO BOX 43 Line 18 of (Check one): (] Part 1: Creditors with Priority Unsecured Claims
Number Street @ Pan 2: Creditors with Nonpriority Unsecured Claims
igi 6 6 5 6
CALDWELL NJ 07006 Last 4 digits of account number “YY
CI ccusnsmustunnnnnernsernesesies even Eee Zip Cade
MIDLAND CREDIT SERVICES On which entry in Part 1 or Part 2 did you list the original creditor?
Name
350 DE LA REINA iine 18 of (Check one}. 2 Part 4: Creditors with Priority Unsecured Claims
Number Street Wf Part 2: Creditors with Nonpriority Unsecured
SUITE 100 Claims
SAN DIEGO CA 92108 Last 4 digits of account number 68 & 5 6
City State ZIP Code
SUPERIOR COURT OF NEW JERSEY On which entry in Part 1 or Part 2 did you list the original creditor?
Name
450 MLK BLVD tine 18 of (Check one): O Part 1: Creditors with Priority Unsecured Claims
Number Street Of Part 2: Creditors with Nonpriority Unsecured
SPECIAL CIVIL PART Claims
NEWARK NJ 07102 Last 4 digits of account number 6 6 5 6
IY ce ccecsesanimn nian stile Stale FIP Cede cues mer eocceutugnutetnhiminue inte unevanvaniine went co
FALONI LAW GROUP LLC On which entry in Part 1 or Part 2 did you fist the original creditor?
Nama
425 EAGLE ROCK AVENUE tine 18 of (Check one}: G Part 1: Creditors with Priority Unsecured Claims
Number Street Vf Part 2: Creditors with Nonpriority Unsecured
SUITE 104 Claims
ROSELAND NJ 07068 Last 4 digits of account number 6 6 5 6
City Stale ZIP Coda
LVNV FUNDING LLC On which entry in Part 1 or Part 2 did you fist the original creditor?
Name
55 BEATTIE PLACE Line 18 of (Cheek one): G Part 1: Creditors with Priority Unsecured Claims
Number Street if Part 2: Creditors with Nonpriority Unsecured
Claims
GREENVILLE SC 29601 Last 4 digits of account number & 6 5 6
City State ZiP Coda
On which entry in Part 1 or Part 2 did you list the original creditor?
Name
Line of (Cheek one): Q) Part 4: Creditors with Priority Unsecured Claims
Number Street (] Part 2: Creditors with Nonprierity Unsecured
Claims
Last 4 digits of accountnumber—
City State ZiP Code
ii On which entry in Part 1 or Part 2 did you list the original creditor?
ame
Line of (Check one}: L] Part 1: Creditars with Priority Unsecured Claims
Number Sweet CQ Part 2: Creditors with Nonpriorily Unsecured
Claims
Sas FIP Code Last 4 digits of account number ___ _

City

Schedule E/F: Creditors Who Have Unsecured Claims

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Debtor | TASHONDA ANQUIA

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LIGGINS Case number (if known)

First Name

Middle Name

Lasl Neme

Ea Add the Amounts for Each Type of Unsecured Claim

6. Total the amounts of certain types of unsecured claims. This information is for statistical reporting purposes only. 28 U.S.C. § 159.
Add the amounts for each type of unsecured claim.

Total claim
6a. i ligati .
Total claims a. Domestic support obligations 6a &
from Part 1 6b. Taxes and certain other debts you owe the
government 6b. g 0.00
6c. Claims for death or personal injury while you were
intoxicated 6c. $ 0.00
6d. Other. Add all other priority unsecured claims.
Write that amount here. 6d. 4 § 43,250.00
6e. Totai. Add lines Ga through 6d. 6e.
$ 13,250.00
Total claim
Total claims 6f. Student loans 6f. $ 0.00
from Part 2 6g. Obligations arising out of a separation agreement
or divorce that you did not report as priority 0.00
claims 6g. 3 ‘
6h. Debts to pension or profit-sharing plans, and other
similar debts 6h. g 0.00
6i, Other. Add alt other nonpriority unsecured claims.
Write that amount here. 6. +s
6j. Total. Add lines 6f through 6i. Gj. 92 300.00
$ , ‘

Official Form 106E/F

Schedule E/F: Creditors Who Have Unsecured Claims

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TASHONDA

DeStor ANQUIA

LIGGINS

First Name Middle Name Last Nama

Debtor 2

(Spouse If filing) First Name Middia Name Last Name

United States Bankruptcy Court for the: District of New Jersey

Case number
(If known)

LJ Check if this is an
amended filing

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

12/15

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, copy the additional page, fill it out, number the entries, and attach it to this page. On the top of any

additional pages, write your name and case number (if known).

1. Do you have any executory contracts or unexpired leases?

(J No. Check this bex and file this form with the court with your other schedules. You have nothing else to report on this form.
Wf Yes. Fill in ail of the information below even if the contracts or leases are listed on Schedule A/B: Property (Official Form 106A/8).

2. List separately each persen or company with whom you have the contract or lease. Then state what each contract or lease is for (for
example, rent, vehicle lease, cell phone). See the instructions for this form in the instruction booklet for more examples of executory contracts and

unexpired leases.

Person or company with whom you have the contract or lease

State what the contract or lease ts for

241 PENNY MAC 204 STEPHENS AVENE
Name BELLEVILLE, NEW JERSEY 07108
20500 BELSHAW AVENUE HOME LOAN
Number Street
CARSON CA 90746
City State ZIP Code
22 CHASE AUTO FINANCE AUTO LOAN
Name
PO BOX 901076
Number Street
FORTH WORTH TX 76701
Lo ,.Gity Cece wna State ZIP Code
23
CO Name
Number Street
eel State ZIP Code
24
Name
Number Street
Gly State ZIP Code
28
ro Name
Number Street
City State ZIP Code

Official Form 106G

Schedule G: Executory Contracts and Unexpired Leases

page 1 of |
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aU Mamita Leite t om com cecil han els Laer: ace

Debtor?  TASHONDA ANQUIA LIGGINS
First Name. Middia Name Last Name

Debtor 2

{Spouse, 4 filing) First Name Middle Name Last Name

United States Bankruptcy Court for the: District of New Jersey

Case number
(lf known)

LJ Check éf this is an
amended filing

Official Form 106H
Schedule H: Your Codebtors 12/15

Codebtors are people or entities who are also liable for any debts you may have. Be as complete and accurate as possible. if two married people
are filing together, both are equally responsible for supplying correct information. If more space is needed, copy the Additional Page, fill it out,
and number the entries in the boxes on the left. Attach the Additional Page to this page. On the top of any Additional Pages, write your name and
case number (if known}. Answer every question.

1. Do you have any codebtors? (If you are filing a joint case, do not list either spause as a codebtor.}
i VW wo
Q) Yes

' 2. Within the last 8 years, have you lived in a community property state or territory? (Community property states and lerrifories include
i Arizona, California, \daho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

of No. Go to line 3.
Q) Yes. Did your spouse, former spouse, or legal equivalent live with you at the time?
Q No

CI Yes. In which community state or territory did you live? _ Fill in the name and current address of that person.

Name of your spouse, former spouse, or legal equivalent

Number Street

Cily State ZIP Code

3. In Column 1, list all of your codebtors. Do not include your spouse as a codebtor if your spouse is filing with you. List the person
shown in line 2 again as a codebtor only if that person is a guarantor or cosigner. Make sure you have listed the creditor on
Schedule D (Official Form 106D), Schedule E/F (Official Form 106E/F), or Schedule G (Official Form 106G)}, Use Schedule D,
Schedule E/F, or Schedule G to fill out Column 2.

Column 1: Your codebtor Column 2: The creditor to whom you owe the debt

Check ail schedules that apply:

3.1 | é

Q) Schedule D, tine

Name
Q) Schedule EF, line
Number Street QC) Schedule G, line
City — Siaie GP Code
3.2|
QO) Schedule D, fine
Name
Q) Schedule E/F, line
Number Sirest CQ) Schedule G, line
Clty . State ZIP Code
3.3
O) Schedule D, tine
: Name
i QJ Schedule E/F, line
Nomber Strest OQ Schedule G, line
Gily State ~ZiP Code

Official Form 106H Schedule H: Your Codebtors page 1 ot |
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bebtort  TASHONDA ANQUIA LIGGINS
First Name. Midis Nama LastName

Debtor 2

(Spouse, if filing) First Name Middis Nama Last Name

United States Bankruptcy Court for the: District of New Jersey

Case number Check if this is:

lf known}
LJ An amended fiting

LJ A supplement showing postpetition chapter 13
income as of the foliowing date:

Official Form 106! MMT ODT yyy
Schedule I: Your Income 42/15

Be as complete and accurate as possible. If two married people are filing together (Debtor 1 and Debtor 2), both are equaily responsible for
supplying correct information. If you are married and not filing jointly, and your spouse is living with you, include Information about your spouse.
if you are separated and your spouse is not filing with you, do not inctude information about your spouse. If more space is needed, attach a
separate sheet to this form. On the top of any additional pages, write your name and case number (if known). Answer every question.

Describe Employment

1. Fill in your employment

information. Debtor 1 Debtor 2 or non-filing spouse
Hf you have more than ane job,

attach a separate page with

information about additional Employment status wi Emptoyed QO) Employed

employers. O1 Not employed QC) Not emptoyed

Include part-time, seasonal, or

self-employed work. POSTAL SUPERVISOR

Occupation may include student Occupation
or homemaker, #f it applies.
Employer's address 2825 LONE OAK PARKWAY
Number Street Number = Street
EAGAN MN 55424
City State ZIP Code City State ZIP Code
How long employed there? 23 YEARS 23 YEARS

Cone Give Details About Monthly income

Estimate monthly income as of the date you file this form. If you have nothing to report for any line, write $0 In the space. Include your non-filing
spouse unless you are separated.

if you or your non-filing spouse have more than one employer, combine the information for alt employers for that person on the lines

below. If you need more space, attach a separate sheet te this form.

For Debtor 1 For Debtor 2 or
non-filing spouse

2. List monthly gross wages, salary, and commissions (before all payroll

deductions). If not paid monthly, calculate what the monthly wage would be. 2. $ 4936.00 $
3. Estimate and fist monthly overtime pay. 3. +$ 0.00 + $
4, Galculate gross income. Add fine 2 + line 3. 4. $ 4,936.00 $

Official Form 1061] Schedule !: Your Income page 1
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pettor!  TASHONDA ANQUIA LIGGINS

First Name Middle Name Last Name

Copy fine 4 here... cece rie ten cern eee rrr neceenenneeninenesesnnesseneraces

-§, List all payroll deductions:

5a. Tax, Medicare, and Social Security deductions
5b. Mandatory contributions for retirement plans
5c. Voluntary contributions for retirement plans
Sd. Required repayments of retirement fund loans
Se. Insurance

5f. Domestic support obligations

Sg. Union dues

5h. Other deductions. Specify: GARNISHMENT

on

. Calculate total monthly take-home pay. Subtract line 6 from jine 4.

=~

8. List ail other income regularly received:
8a, Net income from rental property and from operating a business,
profession, or farm

Attach a statement for each property and business showing gross
receipts, ardinary and necessary business expenses, and the total
monthly net income.

8b. Interest and dividends

. Add the payroll deductions. Add lines 5a + 5b + Sc + 5d + Se +5f + 5g + Sh,

&c. Family support payments that you, a non-filing spouse, or a dependent

regularly receive

Include alimony, spousal support, child support, maintenance, divorce

settlement, and property settlement.

8d. Unemployment compensation
8e, Social Security

8f. Other government assistance that you regularly receive

include cash assistance and the value (if known} of any non-cash assistance

that you receive, such as food stamps (benefits under the Supplemental

Nutrition Assistance Program) or housing subsidies.
Specify:

8g. Pension or retirement income

8h. Other monthly income. Specify:

: 9, Add all other Income. Add lines 8a + 8b + 8c + 8d + 8e + Bf +8g + Bh.

:10. Calculate monthly income. Add line 7 + fine &.
: Add the entries in line 10 for Debtor 1 and Debtor 2 or non-filing spouse.

4A.

=

Case number (if known)

For Debtor 1

For Debtor 2 or

State all other regular contributions to the expenses that you list in Schedule J.

Include contributions from an unmarried partner, members of your household, your dependents, your roommates, and other

friends or relatives.

Do not include any amounts already included in lines 2-10 or amounts that are not available to pay expenses listed in Schedule J.

Specify:

:12. Add the amount in the last column of line 10 to the amount in line 11. The result is the combined monthly income.
Write that amount on the Summary of Your Assets and Liabilities and Certain Statistical information, if it applies

$
Sa. ¢$ 1,561.00 $
5b. 6 14.00 $
Sc. § 56.00 $
5d. $ 72,00 $
5e. $ 269.00 $
5B. o§$ 0.06 $
5g. $ 6.00 §
5h. +$ 335.00 + §
6. § 2,629.00 5
7, §¢ 2,307.00 $
ga 0.00 $
8b. 0.00 $
ac. 8 0.00 $
8d. $ 0.00 $
8e. § 0.00 $
a. OS. 0.00 $
8g. $ 0.00 $
8h. +3 0.00 +$
a. | $ 0.00 $

10} § 2,307.00 | 4. $ is 2,007.00

11 § 0.00

2 &[ 2,307.00

Combined

- 13.D0 you expect an increase or decrease within the year after you file this form?

wi No.

monthly income

Q) Yes. Explain:

Official Form 4061 Schedule i: Your Income

page 2

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SU MURUIEMUL ic ea mcen seat h a cel) mers ton

TASHONDA ANQUIA LIGGINS
Debtor 1 forties ‘naticnons iy Neme Check if this is:
Debtor 2 j
(Spouse, if filing) First Name Middis Name Last Namo O An amended filing
. C] A supplement showing postpetition chapter 13
United States Bankruptcy Court for the: District of New Jersey expenses as of the following date:
eee MM / DD/ YYYY

Official Form 106J
Schedule J: Your Expenses 12/15

Be as compiete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach another sheet to this form. Gn the top of any additional pages, write your name and case number
{if known). Answer every question.

Eau Describe Your Household

4. Is this a joint case?

&4 No. Goto line 2.
(J Yes. Does Debtor 2 live in a separate household?

() No
CJ Yes. Debtor 2 must file Officiat Form 106J-2, Expenses for Separate Household of Debtor 2.

2. Bo you have dependents? CO) No
Dependent’s relationship to Dependent’s Does dependent live
Do not list Debtor 1 and wi Yes. Fill out this information for Debtor 1 or Debtor 2 age with you?
Debtor 2. each dependent... ee G
Do nat state the dependents’ SON 22 a No
names. Yes
} No
C) Yes
UC] No
Cl ves
QC] No
C) Yes
OC) No
LI Yes
3, Bo your expenses include Wi No

expenses of people other than Q
yourself and your dependents? Yes

a Estimate Your Ongoing Monthly Expenses

Estimate your expenses as of your bankruptcy filing date unless you are using this form as a supplement in a Chapter 13 case to report
expenses as of a date after the bankruptcy Is filed. If this is a supplemental Schedule J, check the box at the top of the form and fill in the
applicable date.

Include expenses paid for with non-cash government assistance if you know the value of

such assistance and have included it on Schedule I; Your Income (Official Form 1061.) Your expenses

4, The rental or home ownership expenses for your residence. Include first mortgage payments and § 2,342.00
any rent for the ground or lot. 4.
if not Included in line 4:
4a. Real estate taxes 4a. $ 0.00
4b. Property, homeowner's, or renter’s insurance 4b, § 164,00
4c. Home maintenance, repair, and upkeep expenses 4c. $ 0.00
4d, Homeowner's association or condominium dues 4d. 0.00

Official Form 106 Schedule J: Your Expenses page t
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Case number (known)

Debtor 4 TASHONDA ANQUIA LIGGINS
First Name Middle Name Last Name
5, Additional mortgage payments for your residence, such as home equity loans
6. Uttlities:
6a. Electricity, heat, natural gas
6b. Water, sewer, garbage collection
éc. Telephone, cell phone, Internet, satellite, and cable services
6d, Other. Specify:
7. Food and housekeeping supplies
8. Childeare and children’s education costs
9. Clothing, laundry, and dry cleaning
40. Personal care products and services
41. Medical and dental expenses
12. Transportation. Include gas, maintenance, bus or train fare.
Do nat include car payments.
13. Entertainment, clubs, recreation, newspapers, magazines, and books
14. Charitable contributions and religious donations
15. Insurance.
Oo not include insurance deducted from your pay or included in lines 4 or 20.
15a. Life insurance
15b. Health insurance
15c. Vehicle insurance
16d, Other insurance. Specify:
46. Taxes. De not include taxes deducted from your pay or included in lines 4 or 20,
Specify:
17. Installment or lease payments:
17a, Car payments for Vehicle ¢
17b. Car payments for Vehicle 2
17c. Other. Spacify:
17d. Other. Specify:
48. Your payments of alimony, maintenance, and support that you did not report as deducted from
your pay on line 5, Schedule /, Your Income (Official Form 1061),
19, Other payments you make to support others who do not live with you.
Specify:
20. Other real property expenses not included in lines 4 or 5 of this form or on Schedule fi Your income,

20a. Mortgages on other property

20b. Real estate taxes

20c. Property, homeowner's, or renter’s insurance
20d. Maintenance, repair, and upkeep expenses

20e. Homeowner's association or condominium dues

Official Form 106J Schedule J: Your Expenses

13.
14,

18.

19.

20a.

20b.

20c.

20d.
206.

Your expenses

$

200.00

125.00

700.00

400.00

0.00

75.00

100.00

ff fF fF Ff fF - 7 ©

25.00

150.00

0.00

0.00

34.00

476.00

298.00

 ( fF

0.00

550,00

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page 2
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Debtor 4 TASHONDA ANQUIA LIGGINS Case number (ifkaavwn)

First Name Middia Name Last Nama

21. Other. Specify:

22, Calculate your monthly expenses.
22a, Add lines 4 through 21.
22b. Copy line 22 (monthly expenses for Debtor 2), if any, from Official Form 106J-2

29c. Add line 22a and 22b. The result is your monthiy expenses.

23. Calculate your monthly net income,

23a, Copy line 12 (your combined monthly income) from Schedufe
23b. Copy your monthly expenses from line 22c above.

23c. Subtract your monthly expenses from your monthly Income.
The result is your monthiy nef income.

24. Do you expect an increase or decrease in your expenses within the year after you file this form?

For example, do you expect to finish paying for your car loan within the year or do you expect your
mortgage payment to increase or decrease because of a modification to {he terms of your mortgage?

Cl] No.

WM Yes. Explain here: Garnishement will cease and my car loan is paid off in February

Official Form 106J Schedule J: Your Expenses

21.

22a,

22b.

226.

23a.

23b.

23c.

+5 0.00
§ 4,939.00
$ 0.00
$ 4,939.00

$ 4,936.00

~§ 4,939.00

§ -3,00
page 3

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Debtor 1 TASHONDA ANQUIA LIGGINS
First Name Middle Name Last Name

Debtor 2

(Spouse, #f filing) First Nama Middle Name Last Name

United States Bankruptcy Court for the: District of New Jersey

Case number
(If known)

C) Check if this is an

amended filing

Official Form 106Dec
Declaration About an Individual Debtor’s Schedules 12415

If two married people are filing together, both are equally responsible for supplying correct information.

You must fife this form whenever you file bankruptcy schedules or amended schedules. Making a false statement, concealing property, or
obtaining money or property by fraud in connection with a bankruptcy case can result in fines up to $250,009, or imprisonment for up to 20
years, or both, 18 U.S.C. §§ 152, 1341, 1519, and 3571,

a Sign Below

Did you pay or agree to pay someone who is NOT an attorney to help you fill out bankruptcy forms?

Wl No

C) Yes. Name of person . Attach Bankruptcy Petition Preparer’s Notice, Declaration, and
Signature (Official Form 419).

Under penaity of perjury, i declare ave read the summary and schedules filed with this declaration and

that they are true and correct.

aShoudlee IRS x

*

Signature of Debtor 1 Signature of Debtor 2
os af
rae) O00 2014 Bate
MM? DD ? YYYY MMi OD / YYYY

Official Form 106Dec Declaration About an Individual Debtor's Schedules
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Debtor _TASHONDA,

ANQUIA

LIGGINS

First Nama

Debtor 2

Middle Nana

Last Name

(Spouse, if filing) First Name _

Case number

Middle Name

United States Bankruptey Court for the: District of New Jersey

Last Name

{lf known)

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

C¥ Check if this is an
amended filing

04/22

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additionat pages, write your name and case
number (if known). Answer every question.

SS Give Details About Your Marital Status and Where You Lived Before

4. What is your current marital status?

C) Married
Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

Of No

C) Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1:

Number Street

Dates Debtor 1 Debtor 2:

Dates Debtor 2

City

State ZIP Code

Number Street

lived there lived there
CI Same as Debtor 1 C same as Debtor 1
From From
Number Street
To To
City State ZiP Code
CJ Same as Debtor 1 CJ same as Debtor 1
From From
Number Street
To To

City

State ZIP Code

City

State ZIP Cade

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.}

if No

LJ Yes. Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

Explain the Sources of Your Income

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy page 1
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Debtor 1 TASHOND

ANQUIA

Petition

LIGGINS

First Name Middle Name

Last Name

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Case mumber tifkaovn)

4. Bid you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the {otal amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

QC] No
di Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31,2023
YYYY

For the calendar year before that:

(January 1 to December 31,2022
wry

}

}

Sources of income
Check alf that apply.

A Wages, commissions,
bonuses, tips

Q Operating a business

Wd Wages, commissions,
bonuses, tips

t) Operating a business

a Wages, commissions,
bonuses, tips

Qj Operating a business

Gross income

(before deductions and
exclusions)

$__ 59,232.00

5 __ 59,232.00

$ 59,232.00

5. Did you receive any other income during this year or the two previous calendar years?
Include income regardiess of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambiting and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Sources of income
Check all that apply.

t) Wages, commissions,
bonuses, tips

C) Operating a business

cj Wages, commissions,
bonuses, tips

Q Operating a business

Q Wages, commissions,
bonuses, tips

oO Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

Gf No

C) Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:
(January 1 to December 31,2023
vy

For the calendar year before that:

(January 1 to December 31,2922
wry

Official Form 107

Gross income

(before ded
exclusions}

wctions and

Sources of income
Describe below.

Gross income from
each source

(bafare deductions ard
exclusions}

Sources of income
Describe below.

Statement of Financial Affairs for Individuals Filing for Bankruptcy

Gross income from
each source

{before deductions and

exclusions)

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Debtor 1 TASHOND ANQUIA LIGGINS Case number (if known)

Firsl Name Middie Nano Last Name

ir List Certain Payments You Made Before You Filed for Bankruptcy

6. Are either Debtor 4's or Debtor 2’s debts primarily consumer debts?
LJ No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as
“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $7,575" or more?

a No. Go to line 7.

LI Yes. List below each creditor to whom you paid a total of $7,575* or more in one or more payments and the
total amount you paid that creditor, Do not include payments for domestic support obligations, such as
child support and alimony. Also, do nat include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/25 and every 3 years after thal for cases filed on or after the date of adjustment.

wi Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?

CJ No. Go to line 7.

wi Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that
creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments {fo an attorney for this bankruptcy case.

Dates of Total amount paid Amount you still owe Was this payment for...
payment
PENNY MAC 07/15/2024 7,026.00 ¢ 77,864.00 Gd mortgage
Creditors Name
C) car

20500 BELSHAW AVENUE 06/15/2024

Number Street

C) credit card

05/45/2024 C) Loan repayment
C) Suppliers or vendors
CARSON CA 90746
Cily State ZIP Code LI other
CHASE AUTO FINANCE 07/16/2024 1,650.00 3,850.00) mortgage
Creditors Name a
G
PO BOX 901076 06/16/2024 “
Number Street CQ) credit card
05/16/2024 (J Loan repayment
. OQ Suppliers or vendors
FT WORTH TX 76101 Oo
. Other
City State ZIP Code
MICHAEL J LANZO 08/02/2024 5 1,005.00 ¢ 637.00 O Mortgage
Creditor's Name
C) car
PO BOX 43 07/19/2024

C) credit card

Number Street

07/05/2024 () Loan repayment

O Suppliers or vendors

CALDWELL NJ 07006 GA omer GARN

Cily State ZIP Code

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 3
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Debtor?  'TASHOND

Petition

ANQUIA LIGGINS

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Case number (if known)

First Name

Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
insiders include your relatives; any general partners; relatives of any general partners, partnerships of which you are a general partner,
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securifies; and any managing

agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

Wi no

C) Yes. List all payments to an insider.

Dates of
payment

Amount you still

Insider's Name

Number Street

City

Stale ZIP Code

Insider's Name

Number Street

City

State ZIP Code

Reason for this payment

8. Within 1 year before you fifed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited

an insider?

Include payments on debts guaranteed or cosigned by an insider.

Wi No

C) Yes. List all payments that benefited an insider.

Dates of
payment

Insider's Name

Amount you still

Number Street

City

State ZIP Cade

Insider's Name

Number Street

City

Official Form 107

State ZIP Code

Statement of Financial Affairs for Individuais Filing for Bankruptcy

Reason for this payment
Include creditor's name

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TASHOND ANQUIA LIGGINS

First Name Middle Name Lasi Name

Debtor 1 Case number (frown,

Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

Wi No

CJ Yes. Fill in the details.

Nature of the case Court or agency Status of the case
Case title ‘ecom Name C1) Pending
LI on appeal
Number Street C) concluded
Case number
City State ZIP Code
Case title Court Name C Pending
QC) on appeal
Number Street ( concluded
Case number

‘City State ZIP Code
140, Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

OQ) No. Go toline 11.
wi Yes. Fill in the information below.

Describe the property Date Vatue of the property
WAGES
MICHAEL J LANZO 03/09/2022 4,133.00
Crediter's Name :
PO BOX 43
Number Street Explain what happened
(J Property was repossessed.
C) Property was foreclosed.
CALDWELL NJ 07006 wf Property was garnished.
City State ZIP Code () Property was attached, seized, or levied.
Describe the property Date Value of the property
WAGES

FALONI LAW GROUP LLC O7/2si2024 10,937.00

Creditor's Name

425 EAGLE ROCK AVENUE

Number Street

Explain what happened
SUITE 404 C) Property was repossessed.
, C) Property was foreclosed.
WESTORANGE NJ 07052 Gy poy shed
ay Sine ap Cede roperly was garnished.
Property was attached, seized, or levied.

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 5
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TASHOND ANQUIA LIGGINS Case nurnber atseow

Debtor 1

First Name Middle Name: Last Name

44. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

WZ No

CY Yes. Fill in the details.

Describe the action the creditor took Date action Amount
was taken
Creditors Name
$
Number Street
City Stale ZIP Code Last 4 digits of account number: XXXX—

12. Within ¢ year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of
creditors, a court-appointed receiver, a custodian, or another official?

O) No
i Yes

List Certain Gifts and Contributions

13, Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

Wi Ne

Q) Yes. Fill in the details for each gift.

Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person to Whom You Gave ihe Gift
5
Number Street
City State ZIP Code
Person's relationship te you
Gifts with a total value of more than $600 Describe the gifts Dates you gave Value
per person the gifts
$
Person ta Whom You Gave ihe Gilt
$

Number Sireet

City State ZIP Code

Parson's relationship to you

Official Form 107 Statement of Financial Affairs for individuals Filing for Bankruptcy page 6
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Debtor 1 TASHOND ANQUIA LIGGINS Case number fknewn)

First Name Middle Name. Last Name

14. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Wi No

C3 Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities Describe what you contributed Date you Value
that total more than $600 contributed

Charity’s Name

Number Street

Cily State ZIP Code

eo List Certain Losses

45. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other
disaster, or gambiing?

Wf No

C3 Yes. Fill in the details.

Describe the property you lost and Describe any insurance coverage for the loss Date of your Value of property

how the loss occurred . . loss lost
include the amount that insurance has paid. List pending insurance

claims on tine 33 of Schedule A/B; Property.

List Certain Payments or Transfers

16. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone
you consulted about seeking bankruptcy or preparing a bankruptcy petition?
include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

Wd No

C] Yes. Fill in the details.

Description and value of any property transferred Date paymentor Amount of payment
transfer was
Person Who Was Paid _ made
Number Street $
$

City State ZiP Code

Email or website address

Person Who Made the Payment, if Not You

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 7

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Debtor 1 TASHOND ANQUIA LIGGINS Case number (known),

First Name Middle Name Last Name

Description and vatue of any property transferred Bate payment or Amount of
transfer was made = payment

Person Whe Was Paid

Number Street

City State ZIP Cade

Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised te hetp you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

Wf No

(3 Yes. Fill in the details.

Description and value of any property transferred Date paymentor Amount of payment
transfer was
made
Person Who Was Pald
Number Street $
$

Cily State ZIP Code

18. Within 2 years before you filed for bankruptcy, did you self, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security {such as the granting of a security interest or mortgage on your property}.
Do not include gifts and transfers that you have already listed on this statement.
wi No
(3 Yes. Fill in the detaits.

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

Person Who Received Transfer

Number Sireet

City State Zi? Code

Person's relationship to you

Person Who Recelved Transfer

Number Street

City State ZIP Code

Person's relationship to you

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 8

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Debtor1 TASHOND ANQUIA LIGGINS Case number ¢aaown!

First Name Middle Nama Last Name

19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called assef-protection devices.)

Adi No

CI Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

List Gertain Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

W@ No

©) Yes. Fill in the details.

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, — closing or transfer
or transferred
Name of Financial institution
XXXM-_ Cl checking $
(J Savings

Number Street
Q) Money market

) Brokerage

City State = ZIP Code Q Other
OOK ti Checking $
Name of Financlal Institution
Cl Savings
Number Street Qi Money market

QO Brokerage

Q Other.

City State ZIP Coda

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?

Wi No

OC) Yes. Fill in the details.

Who else had access to it? Describe the contents Do you still
have it?
LI No
Name of Financiat Institution Name U Yes
Number Street Number Street
City State #P Gade

City State ZIP Code

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 9

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Debtor 1 TASHOND ANQUIA LIGGINS Case number (if known),

First Name. Middle Name Lasl Name

22. Have you stered property in a storage unit or place other than your home within t year before you filed for bankruptcy?
No
LJ Yes. Fill in the details.

Who else has or had access to it? Describe the contents De you still
have it?
Cad) No
Name of Storage Facility Name J Yes
Number Street Number Street

CityState ZIP Code

City State =. ZIP Code

oe 1s a4 Identify Property You Hold or Control for Someone Else

23, Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
No
O Yes. Fill in the details.
Where is the property? Describe the property Value

Owner's Name : $

Number Street

Number Street

City State ZIP Code
Clty State ZIP Cade

mie Give Details About Environmental Information

For the purpose of Part 16, the following definitions apply:

i Environmental Jaw means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controtling the cleanup of these substances, wastes, or material.

& Site means any location, facility, or property as defined under any environmental faw, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

@ Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

WZ No

() Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Sireet Number Street

City State ZIP Code

City State ZIP Gode

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10
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Petition

TASHOND ANQUIA LIGGINS

First Name Middle Name Lasl Name

Debtor 1

25. Have you notified any governmental unit of any release of hazardous material?

wi No
O] Yes. Fill in the details.
Governmental unit

Name of site Governmental unit

Number Street Number Street

1 Gity State ZIP Code

City State ZIP Gode

Page 53 of 61

Case number (iknow

Environmental law, if you know it

Date of notice

26.Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Wi No

CI Yes. Fill in the details.

Court or agency

Case title
Court Name
Number Street
Case number City State ZIP Gode

Give Details About Your Business or Connections to Any Business

Nature of the case

Status of the
case

Q) Pending
QO on appeal
QO] Concluded

27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?
(J A sole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time

CJ A member of a limited liability company (LLC} or Hmited liability partnership (LLP)

C) A partner in a partnership
(J An officer, director, or managing executive of a corporation

@ an owner of at least 5% of fhe voting or equity securities of a corporation

WW No. None of the above applies. Go te Part 12.

Yes. Check alf that apply above and fill in the details below for each business.

Describe the nature of the business

Business Name

Number Street
Name of accountant or bookkeeper

Clty State ZIP Code
Describe the nature of the business

Business Name

Number Street
Name of accountant or bookkeeper

City State ZiP Code

Official Form 107

Employer Identification number
Do not Include Social Security number or ITIN.

: BIN: -

Dates business existed

: From To

Employer identification number
De not include Social Security number or ITIN.

BIN: -

Dates business existed

From To

Statement of Financial Affairs for Individuals Filing for Bankruptey page tt

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Debtor 1 TASHOND ANQUIA LIGGINS Case number srkiown

First Name Middia Name Last Name

Employer Identification number

Describe the nature of the business
Do net include Social Security number or iTiN.

Business Name

EIN: ee ee
Number Street Name of accountant or bookkeeper Dates business existed
From To

City State 4iP Code

28, Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

Wi Neo

C Yes. Fill in the details below.

Date issued

Name MMTDDIYYYY

Number Street

City State 4lP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy cas¢ esultin fines up to $250,000, or imprisonment for up to 20 years, or both.

18. U.S.C. §§ 152, 1341, 1519, ang

Signature of Debtor 1 ( Signature of Debtor 2
Date Of 4 | 02 20 Date
Did you attach additional pages to Your Statement of Financial Affairs for individuats Filing for Bankruptcy (Official Form 4107)?

CQ} No
wf Yes

Did you pay or agree to pay someone who is not an attorney te help you fill out bankruptcy forms?

hf No

C) Yes. Name of person . Attach the Bankruptcy Petition Preparer’s Notice,
Declaration, and Signature (Official Form 119}.

Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 12
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II MAMR om iLieTMiC oli mcem eC am cell mt d-tts

Debtor 1 TASHONDA ANQUIA LIGGINS
Firgl Name Middle Name Last Name

Debtor 2

(Spouse, if filing) Ficst Name Middle Name Last Name

United States Bankruptcy Court for the: District of New Jersey
Case number Cl Check if this is an
{If known) amended filing

Official Form 108
Statement of Intention for Individuals Filing Under Chapter 7 as

if you are an individual filing under chapter 7, you must fili out this form if:

® creditors have claims secured by your property, or

@ you have teased personal property and the lease has not expired.

You must file this form with the court within 30 days after you file your bankruptcy petition or by the date set for the meeting of creditors,
whichever is earlier, unless the court extends the time for cause. You must also send copies fo the creditors and lessors you list on the form.

Hf two married people are filing together in a joint case, both are equally responsible for supplying correct information.
Beth debtors must sign and date the form.

Be as complete and accurate as possible. If more space is needed, attach a separate sheet to this form. On the top of any additional pages,
write your name and case number (if known).

Ea List Your Creditors Who Have Secured Claims

4. For any creditors that you listed in Part 1 of Schedule D: Creditors Who Have Claims Secured by Property (Official Form 106D)}, fill in the
information below.

Identify the creditor and the property that is collateral What do you intend to do with the property that Did you claim the property
secures a debt? as exempt on Schedule C?
i
“Creditor's C) Surrender the property. LI) No
name PENNY MAC property
C) Retain the property and redeem it. wy Yes
Description of 204 STEPHENS STREET C) Retain th ty and enter int
property BELLEVILLE, NEW JERSEY 07109 etain the property and enter Into a

securing debt: Reaffirmation Agreement.

i Retain the property and [explain]:
CONTINUE MORTG. PMT ARRAG.

Creditors

creat CHASE AUTO LOAN CI Surrender the property. CJ No
(C) Retain the property and redeem it. i ves

Description of 2019 MITSUBISHI OUTLANDER (2 Retain the property and enter into a

property Reaifirmation Agreement.

securing debt:
i Retain the property and fexplain):
CONTINUE PAYMTS. TO 02/2025

Creditor's (2) Surrender the property. QI No
name:
C2] Retain the property and redeem it. OC Yes

Description of
property
securing debt:

CQ Retain the property and enter into a
Reaffirmation Agreement.

(3 Retain the property and [explain]:

Creditor's CY Surrender the property, LJ No
name:
() Retain the property and redeem it. Q ves

Description of
property
securing debt:

CJ Retain the property and enter into a
Reaffirmation Agreement,

{} Retain the property and [explain]:

Official Form 408 Statement of Intention for Individuals Fillng Under Chapter 7 page 1
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TASHONDA ANQUIA LIGGINS Case number (if known)

Deblor 4

Firs| Name Middle Name Last Name

Eo List Your Unexpired Personal Property Leases

For any unexpired personal property lease that you listed in Schedule G: Execufory Contracts and Unexpired Leases (Official Form 1066),
fill in the information below. Do not fist real estate leases, Unexpired feases are leases that are stillin effect; the lease period has not yet
ended. You may assume an unexpired personal property lease if the trustee does not assume It. 11 U.S.C. § 365(p)(2)}.

Describe your unexpired personal property leases Will the lease be assumed?
Lessor’s name: PENNY MAC CI No
Description of leased 204 STEPHENS STREET BELLEVILLE, NEW JERSEY 07109 es
property:
Lessor's name: CHASE AUTO BANK C] No

u
Description of eased 2019 MITSUBISHI OUTLANDER Yes
property:
Lessor's name: CQ) No
Description of leased CJ Yes
property:
Lessors name: O No

CQ) yes
Description of leased
property:
Lessor's name: O No

OQ Yes
Description of teased
property:
Lessor's name! CQ) No .

\,

LJ Yes ny
Description of teased \
property: N,
Lessors name: O No

CH ves

Description of leased
property:

Under penalty of perjury, 1 declafe that/ have indicated my intention about any property of my estate that secures a debt and any
personal property that is subfect to af unexpired fease.

«T0Gho de x
Signature of Debtor 7 Signature of Debtor 2

Date 0% 02) 2024 Date

MMi DD # YY¥

MMi DDS YYY¥

Official Form 108 Statement of Intention for Individuals Filing Under Chapter 7 page 2
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TTT UMUC LC eames Cam Del eboac i easy eee eect se emir Ee

eat tas Pec ell 9) ob

Debtor1 ITASHONDA ANQUIA LIGGINS
First Name Middle Name Last Name

LJ 1. There is no presumption of abuse.
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name C) 2. The calcutation to determine if a presumption of

oe abuse applies will be made under Chapter 7

United States Bankruptey Coun for the: District of New Jersey Means Test Calculation (Official Form 122A~2).
Case number C) 3. The Means Test does not apply now because of
(If known} qualified military service but it could apply later.

L) Check if this is an amended filing

Official Form 122A—-1
Chapter 7 Statement of Your Current Monthly Income 12/19

Be as complete and accurate as possible. If tvo married people are filing together, both are equally responsible for being accurate. lf more
space is needed, attach a separate sheet to this form. Include the line number to which the additional information applies. On the top of any
additlonat pages, write your name and case number (if known). If you believe that you are exempted from a presumption of abuse because you
do not have primarily consumer debts or because of qualifying military service, complete and file Statement of Exemption from Presumption of
Abuse Under § 707(6)(2) (Official Form 1224-1 Supp) with this form.

Eo Calculate Your Current Monthly Income

1. What is your marital and filing status? Check one only.

) Not married. Fitl out Column A, lines 2-11.
UL] Married and your spouse is filing with you. Fill out both Columns A and 8, lines 2-11,

LJ Married and your spouse is NOT filing with you. You and your spouse are:
Q Living In the same household and are not legally separated. Fill out both Columns A and B, fines 2-11.

QO Living separately or are legally separated. Fill out Column A, lines 2-11; de not fill out Column B. By checking this box, you declare
under penalty of perjury that you and your spouse are legally separated under nonbankruptcy law that applies or that you and your
spouse are living apart for reasons that do not include evading the Means Test requirements. 1¢ U.S.C. § 707(bX7)(B).

Fill in the average monthly income that you received from ail sources, derived during the 6 fuil months before you file this
bankruptcy case. 11 U.S.C. § 101(10A). For exampie, if you are filing on September 15, the 6-month period would be March 1 through
August 31. If the amount of your monthly income varied during the 6 months, add the income for ail 6 months and divide the total by 6.
Fill in the result. Do not include any income amount more than once. For example, if both spouses own the same rental property, put the
income from that property in one column only. If you have nothing to report for any line, write $0 in the space.

Column A Column B
Debtor 1 Debtor 2 or
non-filing spouse

2. Your gross wages, salary, tips, bonuses, overtime, and commissions
(before alt payroll deductions). $, 4,936.00 $

3. Alimony and maintenance payments. Do not include payments from a spouse if 0.00
Column B is filled in. Beret $

4. Ail amounts from any source which are regularly paid for household expenses
of you or your dependents, including child support. Include reguiar contributions
from an unmarried partner, members of your household, your dependenis, parents,
and roommates. Include regular contributions from a spouse only if Column B is not 0.00
filled in. Do not include payments you listed on line 3. $M $

5. Net income from operating a business, profession, Debtor 4 Debtor 2

or farm 0.00
Gross receipts (before all deductions) $Y: $

Ordinary and necessary operating expenses -—$ Q,00-$

Net monthly income from a business, profession, orfarm = ¢ 0 $ voPyy, $ 6 g
6. Net income from rental and other real property Debtor | 0 Debtor 2

Gross receipts (before all deductions} g O00 g

Ordinary and necessary operating expenses —$ 0.00-

Net monthly income from rental or other real property 5 6 5 poPy $ 0
7. Interest, dividends, and royalties $ 0.00

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page +t
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Debtor 1 TASHONDA ANQUIA LIGGIN Case number ¢f known)
First Name. Middle Name Lasl Name
Column A Column B
Debtar 1 Debtor 2 or
non-filing spouse
8. Unemployment compensation $ $

Do not enter the amount if you contend that the amount received was a benefit
under the Sacial Security Act. Instead, list it here: 2 ee

$ 0.00
$

9. Pension or retirement income. Do not include any amount received that was a

benefit under the Social Security Act. Also, except as stated in the next sentence, do

not include any compensation, pension, pay, annuity, or allowance paid by the

United States Government in connection with a disability, combat-related injury or

disability, or death of a member of the uniformed services. If you received ary retired

pay paid under chapter 61 of title 10, then include that pay only to the extent that it

does not exceed the amount of retired pay to which you would otherwise be entitled if 0.00

retired uncer any provision of title 10 other than chapter 61 of that title. 3 : $
1G, Income from all other sources not listed above. Specify the source and amount.

Do not include any benefits received under the Social Security Act; payments received

as a Victim of a war crime, a crime against humanity, or international or domestic

terrorism: of compensation, pension, pay, annuity, or allowance paid by the United

States Government in connection with a disability, combat-related injury or disability, or

death of a member of the uniformed services. If necessary, list other sources on a

separate page and put the total below.

FOP YOU ooo ecceetecssstteenseesneenee eens

For your spouse

¢ 4,936.00
$
Total amounts from separate pages, if any. +3 +3
11. Calculate your total current monthly Income, Add lines 2 through 10 for each _

}
column. Then add the total for Column A to the total for Column B. ¢ 4,936.00 + $ = 5 4936

Total current
monthly income

Gr Determine Whether the Means Test Applies to You

12. Calculate your current monthly income for the year. Follow these steps:
12a, Copy your total current monthly income fromm LMG 11. essere eeeceeeeeececseeninrneeeceenonsnsnnnnmenenreg anon Copy line 41 here>

Muttiply by 12 (the number of months in a year}.

12b. The result is your annual income for this part of the form. 12b,

43. Calculate the median family income that applies to you. Follow these steps:

Fill in the state in which you live. NEW JERSEY

Fill in the number of people in your household.

Fill in the median family income for your state and size of household. ......

Ta find a list of applicable median income amounts, go online using the fink ‘specif ‘ed i in nthe separate
instructions for this form. This list may also be available at the bankruptcy clerk's office.

14. How do the fines compare?

14a. WJ Line 12b is less than oF equal to line 13. On the top of page 1, check box 1, There is no presumption of abuse.
Go to Part 3. Do NOT fill out or file Official Form 122A-2

i4p. LJ] Line 12b is more than line 13. On the top of page 1, check box 2, The presumption of abuse is determined by Form 122A-2.
Go to Part 3 and fill out Form 1224-2.

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Debtor 1 TASHONDA ANQUIA LIGGIN Case number (if kaown

First Name Middle Name Lasl Name

ta Sign Below
aan

By signing here, | declare under fenalty of perjury that the information on this statement and in any attachments Is true and correct.

oly
x (adore { x
Signature of Debtor 7 Co" Signature of Debtor 2
pad) % 0% 20244 Date
MM/ DD fYYYY MM/ DO /YYYY

lf you checked line 14a, do NOT fill out or file Farm 122A—2.
If you checked fine 14b, fill out Form 122A-2 and fite it with this form.

Official Form 122A-1 Chapter 7 Statement of Your Current Monthly Income page 3
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Petition

MME Mette Cia est mst to

Debtor 1 TASHONDA ANQUIA LIGGINS
First Name Middle Name Lasl Name

Debtor 2

(Spouse, #f filing) FirstName Middle Name Last Name

United States Bankruptey Court for the: District of New Jersey

Case number
{IF known)

Official Form 122A—1Supp

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(J Check if this is an amended filing

Statement of Exemption from Presumption of Abuse Under § 707(b)(2) 1215

File this supplement together with Chapter 7 Statement of Your Current Monthly income (Official Form 122A-1), if you believe that you are
exempted from a presumption of abuse. Be as complete and accurate as possible. if two married people are filing together, and any of the
exclusions in this statement applies to only one of you, the other person should complete a separate Form 122A-1 if you believe that this is

required by 11 U.S.C. § 707(b)(2){C).

to Identify the Kind of Debts You Have

Individuals Filing for Bankruptcy (Official Form 104}.

submit this supplement with the signed Form 122A-1.
bd Yes. Go to Part 2.

Ee Determine Whether Military Service Provisions Apply to You

1. Are your debts primarily consumer debts? Consumer debts are defined in 11 U.S.C. § 101(8) as “incurred by an individual primarily for a
personal, family, or household purpose.” Make sure that your answer is consistent with the answer you gave at line 16 of the Voluntary Petition for

CE No. Go to Form 1224-1; an the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3. Then

2. Are you a disabled veteran (as defined in 38 U.S.C. § 37441(1})?

wi No. Go te line 3.

10 U.S.C. § 101(d)(1); 32 U.S.C. § 904(1).
C] No. Go to line 3.

Then submit this supplement with the signed Form 122A-1.

3. Are you or have you been a Reservist or member of the National Guard?
4 No. Complete Form 122A-1. Do not submit this supplement.

QO no. Complete Form 122A-1. Do not submit this supplement.
Ql Yes. Check any one of the following categories that applies:

C} I was called to active duty after September 11, 2001, for at least
90 days and remain on active duty.

C) | was called to active duty after September 11, 2001, for at least
90 days and was released from active duty on
which is fewer than 540 days before | file this bankruptcy case.

{2 tam performing a homeland defense activity for at least 90 days.

C) | performed 2 homeland defense activity for at least 90 days,
ending on , which is fewer than 540 days
before I file this bankruptcy case.

CD Yes. Did you incur debts mostly while you were on active duty or while you were performing a homeland defense activity?

(Cl) Yes. Go to Form 1224-1: on the top of page 1 of that form, check box 1, There is no presumption of abuse, and sign Part 3.

C) Yes. Were you called to active duty or did you perform a hometand defense activity? 10 U.S.C. § 104(d}{1}; 32 U.S.C. § 901(1).

If you checked one of the categories to the left, go to
Form 122A-1. On the top of page 1 of Form 1224-1,
check box 3, The Means Test does not apply now, and
sign Part 3. Then submit this supptement with the signed
Form 1224-1. You are not required io fill out the rest of
Official Form 122A-1 during the exclusion period. The
exclusion period means the time you are on active duty
or are performing a homeland defense activily, and for
540 days afterward. 11 U.S.C. § 707(b}(2)(D\ii}.

If your exclusion period ends before your case is closed,
you may have to fiie an amended form jater.

Official Form 122A-1Supp

Statement of Exemption from Presumption of Abuse Under § 707(b)(2)
Case 24-17915-SLM

TASHONDA A. LIGGINS
FALONI LAW GROUP, LLC

425 EAGLE ROCK AVENUE

SUITE 404

WEST ORANGE, NEW JERSEY 07052

MICHAEL LANZO, COURT OFFICER
PO BOX 43
CALDWELL, NEW JERSEY 07006

SUPERIOR COURT OF NEW JERSEY
SPECIAL CIVIL PART

50 W MARKET STREEF

NEWARK, NEW JERSEY 07012

MIBLAND CREDIT MANAGEMENT, INC.

1037 RAYMOND BLVD.
NEWARK, NEW JERSEY 07102

PSE&G
80 PARK PLACE
NEWARK, NEW JERSEY 07102

BARCLAYS B ANK
D/B/A/ NFL CREDIT CARD
PO BOX 60517

CITY OF INDUSTRY, CALIFFORNIA 917136

SUNBIT BANK
10940 WILSHIRE BLVD
LOS ANGELES, CALIFORNIA 90024

HOME DEPOT CREDIT SERVICES
PO BOX 7032

SIOUX FALLS, SOUTH DAKOTA
57117-7032

KOHL'S

N56 W71000 RIDGEWOOD DRIVE
MENOMONEE FALLS, WISCONSIN
53051

BARCLAYS D/B/A
OLD NAVY CREDIT SERVICES
PO BOX 8801

WILMINGTON, DELAWARE 19899-8801

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CHAPTER 7
AMERICAN EXPRESS CREDIT CARD
PO BOX 981535
El Paso, TEXAS 79998

Capital One
1680 Capital One Drive
McLean, VIRGINIA 22102

Target
3901 W. 53” Street
Sioux Falis, SOUTH DAKOTA 57106

FIRST PREMIER BANK
3401 SO, KIWANIS AVENUE
SIOUX FALLS, SOUTH DAKOTA 57105

AFFIRM

650 CALIFORNIA STREET

Ft, 12

SAN FRANCISCO, CALIFORNIA
94108-2716

LL BEAN CREDIT SERVICES
PO BOX 9001068
LOUISVILLE, KENTUCKY 40290

DISCOVER CARD
PO BOX 30416
SALT LAKE CITY, UTAH 84130

BLOOMINGDALE’S CREDIT SERVICES
28-07 JACKSON AVENUE
QUEENS, NEW YORK 11101

LOWES CREDIT SERVICES

1000 LOWES BLVD
MOORESVILLE, NORTH CAROLINA
28117

WALMART
702 SW 8™ STREET
BENTONVILLE, ARKASANS 72716

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20500 BELSHAW AVENUE
CARSON, CALIFORNIA 90746

CHASE AUTO FINANCE
PO BOX 901076
FT.WORTH, FEXAS 76101

TOWNSHIP OF BELLEVILLE
WATER BUREAU

152 WASHINGTON AVENUE
BELLEVILLE, NEW JERSEY 07109

SALLIE MAE
300 CONTINTENTAL DRIVE
NEWARK, NEW JERSEY 07102

MACY’S CREDIT SERVICES
151 W. 34™ STREET
NEW YORK, NEW YORK 10001

VICTORIA SECRET CREDIT SERVICES
FOUR LIMITED PARKWAY
REYNOLDSBURG, OHIO 43068

VERIZON

ONE VERIZON WAY
Y¥CS4N090

BASKING RIDGE, NEW JERSEY
07920-4097

AMAZON CREDIT SERVICES
410 TERY AVENUE N
SEATTLE, WASHINGTON 9819-5210

TJ MAXX STORES CREDIT SERVICES
901 LINCOLN DRIVE W
MARLTON, NEW JERSEY 68053

LVNV FUNDING LLC
55 BEATTIE PLACE
GREENVILLE, SC 29601
